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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
   ---------------------------------------------x
   GARFIELD ANTHONY WILLIAMS,
                       Plaintiff,
   - against -               Index No.       1:20-cv-5995
   CITY OF NEW YORK, POLICE OFFICER OSCAR
   HERNANDEZ, TAX ID NO. 96754; POLICE OFFICER
   JOSEPH OTTAVIANO, TAX ID.          NO. 963677,
   DETECTIVE RUBEN LEON, BADGE NO. 4232,
                       Defendants.
   ---------------------------------------------x
                       *REMOTE DEPOSITION*
                  of one of the Defendants:
                POLICE OFFICER OSCAR HERNANDEZ
              HELD:     FRIDAY, FEBRUARY 11, 2022
                      11:04 a.m. - 2:16 p.m.
                        CASE #:     564508




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 1
 2      This is the ZOOM Deposition of one of the
 3      Defendants POLICE OFFICER OSCAR HERNANDEZ,
 4      taken pursuant to Order, held via ZOOM
 5      VIDEOCONFERENCING; said witness being duly
 6      sworn by and record reported via steno writer
 7      by MICHELLE TROY PARRISH,          Certified Court
 8      Reporter and Certified Notary Public within
 9      and for the State of New York
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 1                       A P P E A R A N C E S:
 2                **ALL PARTIES APPEARED REMOTELY**
 3      LORD LAW GROUP PLLC
 4      Attorneys for Plaintiff
 5      14 Wall Street, Suite 1603
 6      New York, New York 10005
 7      718-701-1002
 8      BY:   MASAI I. LORD, ESQ.
 9      Lord@nycivilrights.nyc
10
11
12
13
14      GEORGIA M. PESTANA
15      CORPORATION COUNSEL OF THE CITY OF NEW YORK
16      Attorneys for Defendants
17      100 Church Street
18      New York, New York 10007
19      212-356-2384
20      BY:   WILLIAM T. GOSLING, ESQ.,
21      ASSISTANT CORPORATION COUNSEL
22
23
24
25




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 1                           I N D E X
 2                          TO TESTIMONY
 3             WITNESS: POLICE OFFICER OSCAR HERNANDEZ
 4      EXAMINATION BY                           PAGE(S)
 5      MR. LORD                                       16
 6      MR. GOSLING                                  197
 7                      TO EXHIBITS MARKED
 8           (1 - 4 & 7 & 8 attached to transcript;
 9                    5 & 6 retained by counsel)
10      PLAINTIFF'S       DESCRIPTION             PAGE
11      Exhibit 1 Police Accident Report            98
                    MV-104AN, Bates stamped
12                  D_00001 to D_00003,
                    consisting of 3 pages;
13                  attached hereto
14      Exhibit 2 NYPDPETS Property Clerk          111
                    Invoice, Invoice No.
15                  2000930421, Invoice Date
                    12/15/2019, Bates stamped
16                  D_00004 to D_00006,
                    consisting of 3 pages;
17                  attached hereto
18      Exhibit 3 Arresting Officer's Report-      121
                    Intoxicated Driver Arrest,
19                  PD 271-152, IDTU Case No.
                    19-B-BX-116, Bates stamped
20                  D_00023 to D_00026,
                    consisting of 4 pages;
21                  attached hereto
22      Exhibit 4 Affidavit in Support of          144
                    Declining/Deferring
23                  Prosecution, Arrest Date:
                    12/15/2019, Bates stamped
24                  D_00050 to D_000051,
                    consisting of 2 pages;
25                  attached hereto




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 1                           I N D E X
 2                      TO EXHIBITS MARKED
 3                             (Cont'd)
 4      PLAINTIFF'S         DESCRIPTION                      PAGE
 5      Exhibit 5 Body cam video labeled                     159
                    AXON_BODY_2_VIDEO
 6                  DEO_2019-12-15_0034;retained
                    by counsel
 7
        Exhibit 6     Body cam video labeled                 173
 8                    2019-12-15_01-50-16;retained
                      by counsel
 9
        Exhibit 7     New York City Police                   189
10                    Department Arrest Report
                      B19649648, Bates stamped
11                    D_00016 to D_00019,
                      consisting of 4 pages;
12                    attached hereto
13      Exhibit 8     Online prisoner arraignment            195
                      document for Williams,
14                    Garfield, #B19649648, Bates
                      stamped D_00014 to D_00015,
15                    consisting of 2 pages;
                      attached hereto
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 1            REMOTE OATH BY REPORTER ACKNOWLEDGEMENT
 2      The attorneys participating in this deposition
 3      acknowledge that the reporter is not
 4      physically present in the deposition room and
 5      that he/she will be reporting this deposition
 6      remotely.     They further acknowledge that, in
 7      lieu of an oath administered in person, the
 8      reporter will administer the oath remotely,
 9      pursuant to Executive Order Number 202.7,
10      issued by New York State Governor Andrew M.
11      Cuomo on March 19, 2020.         All parties and
12      their counsel consent to this arrangement and
13      waive any objections to this manner of
14      reporting.
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 1              221.   UNIFORM RULES FOR DEPOSITIONS
 2      221.1 Objections at Depositions
 3      a) Objections in general:          No objections shall
 4      be made at a deposition except those which,
 5      pursuant to subdivision (b), (c) or (d) of
 6      Rule 3115 of the Civil Practice Law and Rules,
 7      would be waived if not interposed, and except
 8      in compliance with subdivision (e) of such
 9      rule.    All objections made at a deposition
10      shall be noted by the officer before whom the
11      deposition is taken, and the answer shall be
12      given and the deposition shall proceed subject
13      to the objections and to the right of a person
14      to apply for appropriate relief pursuant to
15      Article 31 of the CPLR.
16      b) Speaking objections restricted:            Every
17      objection raised during a deposition shall be
18      stated succinctly and framed so as not to
19      suggest an answer to the deponent and, at the
20      request of the questioning attorney, shall
21      include a clear statement as to any defect in
22      form or other basis of error or irregularity.
23      Except to the extent permitted by CPLR Rule
24      3115 or by this rule, during the course of the
25      examination, persons in attendance shall not




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 1              221.    UNIFORM RULES FOR DEPOSITIONS
 2      make statements or comments that interfere
 3      with the questioning.
 4      221.2 Refusal to answer when objection is made
 5      A deponent shall answer all questions at a
 6      deposition, except (i) to preserve a privilege
 7      or right of confidentiality, (ii) to enforce a
 8      limitation set forth in an order of the court,
 9      or (iii) when the question is plainly improper
10      and would, if answered, cause significant
11      prejudice to any person.         An attorney shall
12      not direct a deponent not to answer except as
13      provided in CPLR Rule 3115 or this
14      subdivision.      Any refusal to answer or
15      direction not to answer shall be accompanied
16      by a succinct and clear statement of the basis
17      therefor.      If the deponent does not answer a
18      question, the examining party shall have the
19      right to complete the remainder of the
20      deposition.
21      221.3 Communication with the deponent
22      An attorney shall not interrupt the deposition
23      for purposes of communicating with a deponent
24      unless all parties consent or communication is
25      made for the purpose of determining whether




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 1              221.   UNIFORM RULES FOR DEPOSITIONS
 2      the question should not be answered on the
 3      grounds set forth in section 221.2 of these
 4      rules and, in such event, the reason for the
 5      communication shall be stated for the record
 6      succinctly and clearly.
 7      IT IS FURTHER STIPULATED AND AGREED that the
 8      transcript may be signed before any Notary
 9      Public with the same force and effect as if
10      signed before a clerk or a judge of the court.
11      IT IS FURTHER STIPULATED AND AGREED that the
12      examination before trial may be utilized for
13      all purposes as provided by the CPLR.
14      IT IS FURTHER STIPULATED AND AGREED that all
15      rights provided to all parties by the CPLR
16      cannot be deemed waived, and the appropriate
17      sections of the CPLR shall be controlling with
18      respect hereto.
19      IT IS FURTHER STIPULATED AND AGREED by and
20      between the attorneys for the respective
21      parties hereto that a copy of this examination
22      shall be furnished, without charge, to the
23      attorneys representing the witness testifying
24      herein.
25                              * * * * * *




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 1        Defendant POLICE OFFICER OSCAR HERNANDEZ
 2   THIS IS THE REMOTE ZOOM DEPOSITION OF POLICE
 3   OFFICER OSCAR HERNANDEZ, one of the Defendants
 4   herein, produced pursuant to ORDER, on FRIDAY,
 5   FEBRUARY 11, 2022, before MICHELLE TROY
 6   PARRISH, Certified Court Reporter and Notary
 7   Public in and for the State of New York
 8   herein.
 9                           * * * * * *
10                             THE COURT REPORTER:          The
11                       attorneys participating in this
12                       deposition acknowledge that I
13                       am not physically present in
14                       the deposition room and that I
15                       will be reporting this
16                       deposition remotely.        They
17                       further acknowledge that, in
18                       lieu of an oath administered in
19                       person, the witness will be
20                       sworn in remotely by a New York
21                       notary and the witness verbally
22                       declared his testimony in this
23                       matter is underneath the
24                       penalty of perjury.        The
25                       parties and their counsel




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 1        Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                       consent to this arrangement and
 3                       waive any objections to this
 4                       manner of reporting.        Please
 5                       indicate your agreement by
 6                       stating your name and your
 7                       agreement on the record.
 8                             MR. LORD:      Masai Lord for
 9                       Plaintiff.     We agree.
10                             MR. GOSLING:      William
11                       Gosling for defendant.          I
12                       represent Police Officer
13                       Hernandez.     No objections.
14                             COURT REPORTER:       Please
15                       raise your right hand.
16                             THE WITNESS:      (The witness
17                       complied.)
18                             COURT REPORTER:       Do you
19                       solemnly swear or affirm the
20                       testimony you give will be the
21                       truth under penalty of perjury?
22                             THE WITNESS:      Yes.
23                             COURT REPORTER:       Please
24                       state your name for the record.
25                             THE WITNESS:      Oscar




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 1        Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                       Hernandez, H-E-R-N-A-N-D-E-Z.
 3                               COURT REPORTER:     Please
 4                       state your address for the
 5                       record.
 6                               THE WITNESS:    One Police
 7                       Plaza, New York, New York
 8                       10038.
 9                          * * * * * * *
10                               MR. LORD:    Good morning,
11                       Officer Hernandez.
12                               THE WITNESS:    Good
13                       morning.
14                               MR. LORD:    Are you
15                       comfortable being called
16                       Officer Hernandez?        Do you want
17                       me to refer to you as something
18                       else?
19                               THE WITNESS:    However you
20                       feel comfortable.
21                               MR. LORD:    My name is
22                       Masai Lord.      I represent the
23                       Plaintiff, Garfield Anthony
24                       Williams, in relation to an
25                       incident that took place on or




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 1        Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                       about December 15, 2019.
 3                       Briefly I'm going to talk about
 4                       how we can answer some
 5                       questions and the way to ensure
 6                       that the record is clear, and
 7                       then we'll kind of get into the
 8                       substance.
 9                             So, initially, you have
10                       testified under oath before?
11                             THE WITNESS:      Yes.
12                             MR. LORD:      How many times,
13                       approximately, have you
14                       testified under oath?
15                             THE WITNESS:      I can't
16                       recall how many times exactly.
17                             MR. LORD:      Could you give
18                       an estimate?
19                             THE WITNESS:      About two or
20                       three times.
21                             MR. LORD:      Have you ever
22                       testified in a deposition
23                       before?
24                             THE WITNESS:      What do you
25                       mean by a "deposition"?




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 1        Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                             MR. LORD:      In relation to
 3                       a lawsuit.
 4                             THE WITNESS:      No.
 5                             MR. LORD:      So, some rules
 6                       I'm going to go over very
 7                       briefly because obviously the
 8                       court reporter is transcribing
 9                       what is being said.        We can't
10                       do any verbal gestures.         If you
11                       do or make a movement, give me
12                       an opportunity to explain that
13                       movement so the court reporter
14                       can take it down.
15                             Let me finish each
16                       question before you answer the
17                       question to ensure that we're
18                       not talking over each other and
19                       that there is a clear
20                       transcript.      I think that's
21                       pretty much it.
22                             Do you understand those
23                       instructions?
24                             THE WITNESS:      Yes.
25                             MR. LORD:      Do you have any




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 1        Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                       questions about those
 3                       instructions?
 4                             THE WITNESS:      No.
 5                             MR. GOSLING:      Mr. Lord,
 6                       quickly, before you begin, I
 7                       would just like to put for the
 8                       record, Officer Hernandez, if
 9                       you need to take a break at any
10                       moment, just let us know and
11                       you can take a break.
12                             THE WITNESS:      Thank you.
13                             MR. LORD:      If there is a
14                       question pending, just finish
15                       answering the question before
16                       you take a break.
17                             THE WITNESS:      Got it.
18                             MR. LORD:      Okay.    All
19                       right.
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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                  POLICE OFFICER OSCAR HERNANDEZ
 3    called as the witness, hereinbefore named,
 4    being first duly cautioned and sworn or
 5    affirmed remotely by Michelle Troy Parrish,
 6    Certified Court Reporter and Notary Public in
 7    and for the State of New York herein, to tell
 8    the truth, the whole truth, and nothing but
 9    the truth, was examined and testified as
10    follows:
11                             EXAMINATION
12   BY MR. LORD:
13        Q           So, have you reviewed any
14               documents in preparation for this
15               deposition?
16        A           Yes.
17        Q           What documents did you
18               review?
19        A           My arrest paperwork.
20        Q           What does your arrest
21               paperwork consist of?
22        A           Arrest complaint, the
23               vehicle accident, and the IDTU
24               paperwork.
25        Q           Did you review any video in




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               preparation for this deposition?
 3        A           Yes.
 4        Q           What video did you review?
 5        A           My partner's body camera.
 6        Q           Is that the only video that
 7               you reviewed?
 8        A           Yes.
 9        Q           As a result of this arrest
10               of Mr. Williams, did you prepare
11               any paperwork?
12        A           Yes.
13        Q           What paperwork did you
14               prepare in relation to that
15               arrest?
16        A           I prepared some of the --
17               What do you mean by "prepared"?
18        Q           Did you draft or create any
19               paperwork?
20        A           I didn't create any
21               paperwork.
22        Q           Did you fill out any forms
23               or do any writing in relation to
24               this case on a document?
25        A           Yes, I filled out documents.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        Q             What documents did you fill
 3               out?
 4        A             I can't remember exactly
 5               which documents I filled out.
 6        Q             Did you fill out the
 7               accident report?
 8        A             I can't recall.
 9        Q             Do you recall if you filled
10               out the IDTU paperwork?
11        A             Yes.
12        Q             You did fill that out?
13        A             Yes.
14        Q             Did you fill out the arrest
15               paperwork?
16        A             I can't recall.
17        Q             Have you discussed this case
18               with anyone?
19        A             Yes.
20        Q             Outside of your attorney,
21               who did you discuss this case
22               with, if anyone?
23        A             Not outside of my attorney.
24        Q             Your attorney is the only
25               one who you discussed this case




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               with?
 3        A              Yes, about the case.       Well,
 4               with my partner shortly after
 5               about what happened.
 6        Q              Shortly after, when?
 7        A              Like when we were on scene,
 8               about what was going on with what
 9               was happening in the situation.
10        Q              When you say, situation, you
11               mean the lawsuit or the arrest?
12        A              No, the arrest.
13        Q              So, you are saying that soon
14               after the arrest you spoke with
15               your partner about what had taken
16               place?
17                                   MR. GOSLING:    Objection.
18                              You can answer.
19        A              Yes.
20   BY MR. LORD:
21        Q              That's the only time that
22               you spoke with your partner about
23               either the incident or this
24               pending lawsuit?
25                                   MR. GOSLING:    Objection.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                           You can answer.
 3        A           Yes.
 4   BY MR. LORD:
 5        Q           I just want to get some
 6               background information.       What is
 7               your highest level of education?
 8        A           I have an Associates degree.
 9        Q           Have you received any
10               commendations by the New York
11               Police Department?
12                                MR. GOSLING:     Objection.
13                           You can answer.
14        A           Yes, I have.
15   BY MR. LORD:
16        Q           What commendations have you
17               received?
18        A           I received an EPD.
19        Q           What is an EPD?
20        A           Basically it's an award you
21               get from the Department for doing
22               something good in the job that
23               happened, so you get, like, an
24               award for doing good police work.
25        Q           What does EPD stand for?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A              I don't know from the top of
 3               my head.
 4        Q              When did you receive this
 5               award or commendation?
 6        A              I don't know exactly.
 7        Q              Do you know the year?
 8        A              I don't want to give a wrong
 9               date.
10        Q              Do you know what you
11               received it for?
12        A              Yes, for doing a good police
13               work.
14        Q              Was there something specific
15               or this was a general award for
16               the police work you had done over
17               a span of time?
18        A              No, for a specific
19               situation.
20        Q              What was the specific
21               situation?
22                                MR. GOSLING:     Objection.
23                           You can answer if you know.
24        A              We had a robbery and we
25               caught the guy that committed the




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               crime.
 3   BY MR. LORD:
 4        Q           Have you ever been formally
 5               disciplined by the New York
 6               Police Department?
 7        A           Yes.
 8        Q           And what discipline have you
 9               received?
10        A           One, for not turning on my
11               camera.
12        Q           What was the discipline that
13               they gave you?
14        A           CD.
15        Q           What is a CD?
16        A           It's basically a discipline
17               from the Police Department.
18        Q           And does that result in any
19               type of punishment or is that
20               just a mark on your record?
21        A           It goes on record.
22        Q           So, you didn't lose any
23               vacation days or anything along
24               those lines?
25        A           No.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        Q           Have you ever been a
 3               defendant in a lawsuit related to
 4               your duties as a New York Police
 5               Department officer?
 6        A           No.
 7        Q           So, is it fair to say that
 8               this is the first time you have
 9               been listed as a defendant?
10        A           Yes.
11        Q           Have you ever had any CCRB
12               complaints about you that have
13               been substantiated?
14        A           No.
15        Q           Because you haven't had any
16               CCRB complaints that were
17               substantiated, I'm assuming that
18               you have never been disciplined
19               as a result of a CCRB complaint,
20               is that right?
21                                MR. GOSLING:     Objection.
22                           You can answer.
23        A           I never had a CCRB.
24   BY MR. LORD:
25        Q           What is your current title




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               in the New York Police
 3               Department?
 4        A           Police officer.
 5        Q           Have you received any
 6               promotions?
 7        A           No.
 8        Q           What year did you graduate
 9               the police academy?
10        A           2019.
11        Q           What are your current duties
12               as a police officer?
13                                MR. GOSLING:     Objection.
14                           You can answer.
15        A           To patrol my sector.
16   BY MR. LORD:
17        Q           What is your sector?
18        A           I patrol Sector David in my
19               precinct.
20        Q           What is Sector David?
21        A           Basically it's an area in
22               the precinct.     The precinct is
23               cut up into different areas, and
24               I just answer jobs in my area.
25               I'm responsible for any crime




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               that happens in this sector.
 3        Q           Does Sector D have
 4               geographical boundaries?
 5        A           What do you mean by that?
 6        Q           Is it marked by certain
 7               streets or landmarks?
 8        A           Sectors, yes.
 9        Q           Can you explain what streets
10               are marked Sector D?
11        A           There is no physical marking
12               on the streets.
13        Q           I'm just saying, is it,
14               like, does Sector D go to one
15               street and stop?
16        A           Yes.
17                                MR. GOSLING:     Objection.
18                           You can answer.
19   BY MR. LORD:
20        Q           So, can you name the
21               boundary streets for Sector D?
22                                MR. GOSLING:     Objection.
23                           You can answer.
24        A           So, Sector David starts from
25               Southern Boulevard all the way to




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               Morris Park Avenue.
 3   BY MR. LORD:
 4        Q           Was this incident that took
 5               place in December 15, 2019, was
 6               this in Sector D?
 7        A           No.    I just got this
 8               position.
 9        Q           So, what were your duties
10               before you got this position?
11        A           I was just patrolling,
12               answering radio runs as a
13               response auto.
14        Q           And can you just describe
15               what the duties of a response
16               auto are?
17        A           To answer 911 calls.
18        Q           You answered 911 calls in
19               your precinct or outside of your
20               precinct or both?
21        A           In my precinct.
22        Q           And how long were you in
23               that role for?
24        A           For some time.
25        Q           Can you give me an estimate




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               of what you mean by "some time"?
 3        A              About a couple of years.
 4        Q              Have you done any other
 5               duties besides the two that you
 6               just mentioned?
 7                                  MR. GOSLING:   Objection.
 8                             You can answer.
 9        A              No.
10   BY MR. LORD:
11        Q              Have you served in the
12               military?
13        A              No.
14        Q              I know we touched this
15               previously earlier.       How many
16               times have you testified under
17               oath?
18                                  MR. GOSLING:   Objection.
19                             You can answer.
20        A              About a few times.
21   BY MR. LORD:
22        Q              By "few," do you mean
23               approximately three times?
24                                  MR. GOSLING:   Objection.
25                             You can answer.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A              Approximately about two or
 3               three times.
 4   BY MR. LORD:
 5        Q              And were these in criminal
 6               or civil proceedings?
 7                                   MR. GOSLING:   Objection.
 8                              You can answer.
 9        A              Criminal.
10        Q              And did you take an oath to
11               testify in those instances?
12        A              Yes.
13        Q              Have you received training
14               in how to testify?
15                                   MR. GOSLING:   Objection.
16                              You can answer.
17        A              No.
18   BY MR. LORD:
19        Q              How many arrests have you
20               made?
21                                   MR. GOSLING:   Objection.
22                              You can answer.
23        A              I have a total of 34
24               arrests.
25




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2   BY MR. LORD:
 3        Q           How many arrests have you
 4               made for DWI?
 5                                MR. GOSLING:     Objection.
 6                           You can answer.
 7        A           Three.
 8   BY MR. LORD:
 9        Q           When you say, "three," are
10               you including the arrest that is
11               the subject of this lawsuit?
12                                MR. GOSLING:     Objection.
13                           You can answer.
14        A           Yes.
15   BY MR. LORD:
16        Q           Do you know the result of
17               the two other arrests for DWI
18               that you had made?
19                                MR. GOSLING:     Objection.
20                           You can answer.
21        A           What do you mean by, "the
22               result"?
23   BY MR. LORD:
24        Q           Did they result in
25               prosecution?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                                MR. GOSLING:     Objection.
 3                           You can answer.
 4        A           Well, they are still
 5               pending.
 6   BY MR. LORD:
 7        Q           So, the District Attorney's
 8               office decided to prosecute those
 9               matters?
10                                MR. GOSLING:     Objection.
11                           You can answer.
12        A           Yes.
13   BY MR. LORD:
14        Q           Have you received training
15               in how to prepare accident
16               reports?
17        A           Yes.
18        Q           Where did you receive that
19               training?
20        A           In the police academy.
21        Q           Have you received any
22               supplemental training besides the
23               police academy in preparing
24               accident reports?
25        A           No.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        Q           Have you received any
 3               training in the signs of
 4               intoxication related to a DWI?
 5        A           What do you mean?
 6                                MR. LORD:    Withdrawn.
 7   BY MR. LORD:
 8        Q           Have you received any
 9               training related to the Penal Law
10               charge of driving while under the
11               influence?
12                                MR. GOSLING:     Objection.
13                           You can answer.
14        A           Yes.
15   BY MR. LORD:
16        Q           Did that training involve
17               the signs of intoxication?
18        A           Yes.
19        Q           When did you receive that
20               training?
21                                MR. GOSLING:     Objection.
22                           You can answer.
23        A           In the police academy.
24   BY MR. LORD:
25        Q           Have you received any




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               supplemental training outside of
 3               the police academy?
 4                               MR. GOSLING:      Objection.
 5                          You can answer.
 6        A           No.
 7   BY MR. LORD:
 8        Q           Can you describe to me what
 9               that training consisted of in
10               relation to driving while
11               intoxicated?
12                               MR. GOSLING:      Objection.
13                          You can answer.
14        A           What do you mean by
15               "consisted of"?
16   BY MR. LORD:
17        Q           What did they teach you
18               about this charge?
19                               MR. GOSLING:      Objection.
20                          You can answer.
21        A           They taught us basically
22               what I can remember is how to
23               tell by observation if there is
24               signs of any driving while
25               intoxication.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2   BY MR. LORD:
 3        Q           And what are some things
 4               that they told you to look for?
 5                               MR. GOSLING:      Objection.
 6                         You can answer.
 7        A           My observation, bloodshot
 8               eyes, watery eyes, slurred
 9               speech, odor of alcohol, swaying
10               and balance, any vehicle
11               accidents.
12   BY MR. LORD:
13        Q           Is there anything else?
14        A           Not that I recall.
15        Q           So, I want to direct your
16               attention to December 15, 2019.
17               What was your tour on that day?
18        A           I was working midnight tour.
19        Q           And when did that tour begin
20               and when does it end?
21        A           I don't know the exact time.
22               I think it starts around 11:00
23               something.
24        Q           When?
25                               MR. GOSLING:      Just so it's




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                             clear for the record, when it
 3                             says the "midnight" tour, if
 4                             it's staring at 11:00, it would
 5                             be the night before, so it
 6                             would have been December 14th.
 7                                    MR. LORD:   Okay.   Thank
 8                             you.
 9   BY MR. LORD:
10        Q             And assuming you started
11               around 11:00 on December 14,
12               2019, when was your tour due to
13               end?
14        A             Sometime around the morning,
15               around 6:00, 7:00 A.M.
16        Q             Were you in plain clothes or
17               uniform?
18        A             Uniform.
19        Q             Were you working with a
20               partner?
21        A             Yes.
22        Q             Who was the partner you were
23               working with?
24                                    MR. GOSLING:   Objection.
25                             You can answer.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A           Police Officer Ottaviano.
 3   BY MR. LORD:
 4        Q           Do you know Police Officer
 5               Ottaviano's first name?
 6        A           No.
 7                                MR. GOSLING:     Spelled
 8                           O-T-T-A-V-I-A-N-O.
 9   BY MR. LORD:
10        Q           Prior to this incident how
11               long had Officer Ottaviano been
12               your partner?
13        A           I can't recall.
14        Q           Do you recall how long he
15               was your partner after the
16               incident?
17        A           I can't recall.
18        Q           Do you know how many times
19               approximately you guys had
20               responded to calls together?
21        A           What was that?
22        Q           How many times you had
23               responded to calls together with
24               Ottaviano as your partner?
25                                MR. GOSLING:     Objection.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                         You can answer.
 3        A           I don't know the exact
 4               number.
 5   BY MR. LORD:
 6        Q           Could you give an estimate?
 7        A           I don't have an estimate.
 8        Q           Were you in a marked or
 9               unmarked car?
10        A           Marked.
11        Q           Were you part of a larger
12               unit or was it just you and
13               Officer Ottaviano?
14                               MR. GOSLING:      Objection.
15                         You can answer.
16        A           What do you mean by "larger
17               unit"?
18   BY MR. LORD:
19        Q           When you get a call to
20               respond, do you and Officer
21               Ottaviano just go and respond or
22               are there multiple cars that will
23               respond to the same call?
24                               MR. GOSLING:      Objection.
25                               Counsel, can you clarify




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                         the time period you are talking
 3                         about?
 4                               MR. LORD:     I'm talking
 5                         about at this time around
 6                         December 14, 2019, to December
 7                         15, 2019, whether that was a
 8                         policy.
 9        A           Well, it depends on the type
10               of job that we go how many
11               officers respond.
12   BY MR. LORD:
13        Q           So, how many officers
14               responded to this job?
15        A           I don't recall.
16        Q           Did you possess body cam?
17        A           Yes, I did.
18        Q           What is the policy regarding
19               the use of body cam with these
20               types of incidences?
21                               MR. GOSLING:      Objection.
22                         To the extent that you know you
23                         can answer.
24        A           We had to turn on our body
25               camera at certain jobs.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2   BY MR. LORD:
 3        Q            What type of jobs do you
 4               turn on your body cam?
 5        A            Usually the primary jobs, a
 6               crime in progress.
 7        Q            And did the job you
 8               responded to on December 15, 2019
 9               fall into the category of alleged
10               crimes where you have to use your
11               body camera?
12        A            I would not know that from
13               the top of my head.
14        Q            So, as you responded to the
15               scene, were you under the
16               impression that you did or did
17               not have to keep your body camera
18               on?
19                               MR. GOSLING:      Objection.
20                         You can answer.
21        A            What do you mean by that?
22   BY MR. LORD:
23        Q            Well, you had a body cam on
24               your tour from December 14, to
25               December 15, 2019, correct?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A           Yes.
 3        Q           And at some time you
 4               responded to a radio run
 5               regarding an accident, is that
 6               what happened?
 7        A           Yes.
 8        Q           When you responded to that
 9               radio run regarding an accident,
10               was it your understanding that
11               your body camera had to be on?
12        A           No, because the job wasn't a
13               crime in progress.
14        Q           So, we kind of touched on
15               this briefly.     When did you first
16               hear of something that happened
17               on December 14, 2019 regarding
18               the subject matter of this
19               lawsuit?
20                                MR. GOSLING:     Objection.
21                           You can answer.
22        A           Well, I was patrolling and I
23               received a Central Dispatch job
24               for a vehicle accident.
25




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2   BY MR. LORD:
 3        Q           And is that Central Dispatch
 4               recorded?
 5        A           I'm not sure.
 6        Q           And you were responding to a
 7               vehicle accident in a vehicle
 8               accident only?
 9        A           From my understanding at the
10               time, yes.
11        Q           Was there indication that
12               you were responding to a
13               potential DWI?
14        A           What do you mean?
15        Q           Did the call you received
16               from Central Dispatch give any
17               indication that there was a
18               potential DWI taking place --
19               that had taken place?
20        A           I don't recall.
21        Q           Now, when you received this
22               radio run did you talk to your
23               partner about where you guys were
24               going?
25                                MR. GOSLING:     Objection.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                             You can answer.
 3        A              No.
 4   BY MR. LORD:
 5        Q              Was there conversation
 6               between you and this partner
 7               relating to you responding to the
 8               scene?
 9                                  MR. GOSLING:   Objection.
10                             You can answer.
11        A              No.
12   BY MR. LORD:
13        Q              How long did it take you to
14               get to the destination?
15                                  MR. GOSLING:   Objection.
16                             You can answer.
17        A              I don't recall how long it
18               took.
19   BY MR. LORD:
20        Q              Could you give an estimate?
21        A              No.
22        Q              Do you remember where the
23               scene of the accident was?
24        A              177 and Bronx Park.
25        Q              I just want to talk to you




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               about your observations.       What
 3               did you see when you arrived?
 4        A           When I arrived on scene I
 5               see an ESU truck and a couple of
 6               ESU officers.    I saw a vehicle
 7               there, a sedan with a front-end
 8               damage, and there was another
 9               vehicle there.
10        Q           You said, the vehicle -- one
11               vehicle had front-end damage,
12               correct?
13        A           It was a sedan.
14        Q           Were you able to see damage
15               to the other vehicle?
16        A           No.
17        Q           How many ESU officers did
18               you see when you arrived?
19        A           I can't recall the exact
20               amount of officers that were
21               there.
22        Q           Were there any other non-ESU
23               officers there besides you and
24               your partner when you arrived?
25               You said there were ESU officers




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               there when you arrived, correct?
 3        A           Yes.
 4        Q           And you and your partner are
 5               not ESU officers, correct?
 6        A           Correct.
 7        Q           Were there any other non-ESU
 8               officers that were there besides
 9               you and your partner?
10        A           Are you asking if there was
11               any other officers on scene?
12        Q           Yes, that were not ESU
13               officers.
14        A           No, not that I recall.
15        Q           Were there people who were
16               present who were not police
17               officers at all?
18        A           Yes.
19        Q           Who were those people?
20        A           There was woman sitting in
21               the front passenger of the other
22               vehicle that I saw, and there was
23               another male with a Christmas
24               sweater.
25        Q           Was there anybody else?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A           There was also the driver of
 3               the other vehicle.
 4        Q           So, what is the first thing
 5               you did when you arrived on the
 6               scene?
 7        A           When I arrive on scene, I
 8               speak to one of the ESU officers
 9               about what happened, what was
10               going on.
11        Q           And do you know the name of
12               this ESU officer?
13        A           No.
14        Q           What was the content of the
15               conversation with the ESU
16               officer?
17        A           About what was going on on
18               the scene about this job.
19        Q           What did he say to you?
20        A           He mentioned that there was
21               a vehicle accident and that the
22               driver that was sitting in the
23               back of one of the vehicles
24               seemed to be impaired.
25        Q           He said he seem to be




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               impaired?
 3        A             To be intox'd.
 4        Q             What did you do after
 5               hearing that information?
 6        A             I walked toward the car
 7               where the other driver was.
 8        Q             When you say -- Step back
 9               for a second.     He told you that
10               he appeared to be intoxicated.
11               Did he say why?
12        A             No.
13        Q             Did he say that he smelled
14               any alcohol?
15        A             Not at the time.
16        Q             So, you said you went to the
17               car where he was sitting in the
18               back seat, this individual?
19        A             I walked towards that car,
20               yes.
21        Q             Do you know the name of the
22               individual that he was talking
23               about, this ESU officer?
24        A             Not at the time.
25        Q             Did you ever come to find




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               out that name?
 3        A           Yes.
 4        Q           What was his name?
 5        A           Garfield.
 6        Q           Did this ESU officer ever
 7               tell you that Garfield was
 8               represented by counsel?
 9                                MR. GOSLING:     Objection.
10                           You can answer.
11        A           No.
12   BY MR. LORD:
13        Q           So, what happens when you
14               walk towards the car?      What
15               happens next?
16        A           I was approached by a male
17               in a Christmas sweater.
18        Q           What did the male in the
19               Christmas sweater say to you?
20        A           He was saying that he was an
21               attorney and that we couldn't
22               speak to his client.
23        Q           And what did you do with
24               that information?
25        A           I told him that we needed to




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               gather information about what
 3               exactly occurred in this accident
 4               and we needed pedigree
 5               information.
 6        Q           So, what is pedigree
 7               information?
 8        A           Pedigree information would
 9               be first name, last name, date of
10               birth, address, drivers license,
11               insurance, and registration.
12        Q           Are you saying that you did
13               not have that information when
14               you went to speak with him,
15               Garfield?
16        A           I hadn't spoken to him yet.
17        Q           Did anyone give you any
18               documents related to the pedigree
19               information for Mr. Williams?
20        A           Not at the time, no.
21        Q           When did you receive these
22               documents?
23        A           I don't recall.
24        Q           You did receive them at some
25               point, correct?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A           Correct.
 3        Q           Would you agree that
 4               pedigree information is generally
 5               related to an arrest?
 6                                MR. GOSLING:        Objection.
 7                          You can answer.
 8        A           No.
 9   BY MR. LORD:
10        Q           Is there a reason why his
11               attorney could not have given you
12               this information?
13        A           How do I know that the
14               information he is giving me is
15               from the driver that was involved
16               in the vehicle accident?        He
17               could just be giving me any
18               information.
19        Q           You said you needed license,
20               correct?
21        A           I said I needed information
22               of the vehicle that occurred in
23               what happened.
24        Q           So, when you say you needed
25               information about what happened,




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               you consider that pedigree
 3               information?
 4        A           No, I said I needed to know
 5               what exactly happened in and
 6               occurred and I also needed
 7               pedigree information.
 8        Q           So, it's fair to say there
 9               is two types of information;
10               there is pedigree information and
11               there is information about what
12               happened, is that fair to say?
13        A           Yes.
14        Q           So, let's talk about the
15               pedigree information first.
16               Pedigree information is
17               identification and vehicle
18               insurance and title and things of
19               that nature, is that fair to say?
20                                MR. GOSLING:     Objection.
21                           You can answer.
22        A           Yes.
23   BY MR. LORD:
24        Q           And those things can be
25               provided by documents and




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               identification, correct?
 3        A           Yes.
 4        Q           And a lawyer can provide you
 5               with those documents?
 6                                MR. GOSLING:     Objection.
 7                           You can answer.
 8        A           What do you mean by "a
 9               lawyer can provide" those
10               information?
11   BY MR. LORD:
12        Q           Well, the information that
13               you wanted is written down on
14               official documents and licenses,
15               correct?
16        A           Yes.
17        Q           So, those things are items
18               that can physically be
19               transported by an attorney to
20               you, correct?
21        A           Yes, I guess.
22        Q           So, is there any reason why
23               you did not ask the attorney to
24               transport you his pedigree
25               information?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A           Well, we wanted to speak to
 3               the driver that was involved in
 4               the vehicle accident to know what
 5               exactly happened.
 6        Q           You mentioned earlier that
 7               another officer told you he
 8               suspected Mr. Williams was
 9               intoxicated, correct?
10        A           Yes.
11        Q           So, is it fair to say that
12               you are conducting an
13               investigation at this point to
14               determine whether or not he was
15               intoxicated?
16        A           No, I was just gathering
17               information to see what was going
18               on at the scene.
19        Q           So, you are saying that you
20               were not conducting an
21               investigation in terms of whether
22               or not he was intoxicated?
23        A           That is not what I'm saying.
24        Q           So, explain to me what you
25               are saying.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A           What I'm saying is I asked
 3               the ESU officer for what was
 4               going on in this vehicle accident
 5               in this scene because I just
 6               arrived on scene, so I don't know
 7               what exactly is going on.       They
 8               were there first.     They know what
 9               exactly -- They know more than we
10               do at that point.
11        Q           Okay.   Once you received
12               that information, did you conduct
13               an investigation to determine
14               whether Mr. Williams was
15               intoxicated or not?
16        A           Not at that point.       At that
17               point I walked over to the
18               vehicle where Williams, Garfield
19               was to try and speak to him about
20               what occurred, what happened or
21               how did the accident happen, and
22               I asked for pedigree information.
23        Q           So, what happened when you
24               attempted to do this?
25        A           I was approached by the male




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               with the Christmas sweater.
 3        Q           I'm sorry, you can finish.
 4        A           Yes, who said that he was an
 5               attorney and that he didn't want
 6               us speaking to his client.
 7        Q           What happened after he told
 8               you that?
 9        A           I let him know that we need
10               to know what happened, we need to
11               start an investigation about what
12               happened in this vehicle accident
13               and how it happened and we need
14               to know who was involved and we
15               need to know their pedigree
16               information.
17        Q           So, what happened after you
18               said that to the man in the
19               Christmas sweater?
20        A           He kept saying that we
21               couldn't speak to him, to his
22               client.
23        Q           And what happened after he
24               told you that?
25        A           We -- I stayed there at that




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               vehicle.     My partner was speaking
 3               to the driver of the other
 4               vehicle that was involved, and he
 5               comes over to me, we opened the
 6               door, the door opens, we see
 7               Garfield, and a female sitting in
 8               the driver's seat.        Garfield was
 9               sitting in the back passenger
10               seat.     He faces us.     I noticed
11               that he had bloodshot eyes and
12               watery eyes.
13        Q              And then what do you do?
14        A              He steps out the vehicle.
15               My partner says that he is under
16               arrest.     We put him in handcuffs.
17               I noticed that he had a moderate
18               odor of alcohol coming from his
19               breath.     I see that he is
20               swaying, imbalanced.
21        Q              So, did you order him out of
22               the vehicle?
23        A              I don't recall.
24        Q              When you say he got out of
25               the vehicle, did he get out




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               voluntarily or he got out because
 3               you are were placing him under
 4               arrest?
 5        A           I don't recall.
 6        Q           Did your partner tell you
 7               anything about the conversation
 8               he had with the other driver?
 9        A           He told me afterwards.
10        Q           So, prior to arresting Mr.
11               Williams, he did not tell you
12               anything about that conversation?
13                               MR. GOSLING:      Objection.
14                          You can answer.
15        A           No.
16   BY MR. LORD:
17        Q           So, is it fair to say that
18               when you opened the door, you
19               intended to arrest Mr. Williams?
20        A           No.
21        Q           Well, what happened after
22               you opened the door that made you
23               decide to arrest him?
24        A           Well, we opened the door, he
25               came out the vehicle.      My partner




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               says he was under arrest.
 3        Q             So, when you opened the
 4               door, he was under arrest?
 5        A             No.
 6        Q             Was there something that
 7               happened when you opened the door
 8               that made you decide to arrest
 9               him?
10        A             Like I said, he opened the
11               door, he came out the vehicle.
12               My partner said, you are under
13               arrest.
14        Q             Had you discussed this
15               arrest with your partner?
16        A             What do you mean?       When?
17        Q             Prior to him telling Mr.
18               Williams he was under arrest.
19        A             No.
20        Q             Did you know that your
21               partner was going to arrest Mr.
22               Williams?
23                                 MR. GOSLING:     Objection.
24                            You can answer.
25        A             No.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2   BY MR. LORD:
 3        Q           So, is it fair to say that
 4               your partner is the one who made
 5               the determination to arrest him?
 6        A           At that point, yes.
 7        Q           Did you agree with that
 8               determination at that time?
 9        A           Yes.
10        Q           Why did you agree with that
11               determination?
12        A           Because when I arrived on
13               scene, like I said, I spoke to an
14               ESU officer which said that
15               Garfield, Williams appeared to be
16               intox'd and there was a vehicle,
17               an accident involved, and when
18               they opened the door I see that
19               Williams, Garfield had bloodshot
20               eyes and watery eyes.
21        Q           And did you know whether the
22               accident he was involved in was
23               serious or not, Mr. Williams?
24        A           What do you mean by
25               "serious"?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        Q           Well, how would you
 3               categorize a serious car
 4               accident?
 5        A           I don't categorize an
 6               accident by serious or not.
 7        Q           You don't look at an
 8               accident and determine whether
 9               it's serious or not?
10                                MR. GOSLING:     Objection.
11                           You can answer.
12        A           No.     We don't use "serious"
13               as a term for our vehicle
14               accidents.
15   BY MR. LORD:
16        Q           What terms do you use?
17        A           We don't use any terms.
18               It's just a vehicle accident.
19        Q           Are some vehicle accidents
20               worse than others?
21        A           Yes.
22        Q           On a scale of one to ten,
23               how serious would you rate this
24               accident?
25        A           I wouldn't.     I can't do




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               that.     We don't.     I don't know
 3               what do you mean by "rate this
 4               accident"?
 5        Q              Well, were airbags deployed?
 6        A              I'm not sure.
 7        Q              Was the car totalled?
 8        A              The car had pretty bad
 9               damage, yes.
10        Q              So, yes, was the car
11               totalled?
12        A              I'm not sure.
13                                MR. GOSLING:     Objection.
14   BY MR. LORD:
15        Q              So, when you say when the
16               car had pretty bad damage, what
17               do you mean by that?
18        A              The car was heavily damaged.
19                                MR. GOSLING:     Can we
20                           clarify what car we're
21                           referring to?     Because the
22                           testimony is multiple cars on
23                           the scene.     It's really not
24                           clear what the line of
25                           questioning is.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                                MR. LORD:    That's fair.
 3   BY MR. LORD:
 4        Q           Which car are you talking
 5               about when you say the car was
 6               heavily damaged?
 7        A           There was sedan with
 8               front-end damage.
 9        Q           And you would categorize the
10               sedan's front-end damage as
11               heavily damaged, correct?
12        A           Yes.
13        Q           In your experience can
14               someone be injured in a car
15               accident that results in heavy
16               damage?
17                                MR. GOSLING:     Objection.
18                           You can answer.
19        A           I can't answer that question
20               because every accident is
21               different.
22   BY MR. LORD:
23        Q           Can someone be injured in a
24               car accident?
25                                MR. GOSLING:     Objection.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                           You can answer.
 3        A           Of course.        Anybody can be
 4               injured in a vehicle accident.
 5   BY MR. LORD:
 6        Q           Could those injuries result
 7               in bloodshot, watery eyes?
 8                                   MR. GOSLING:   Objection.
 9                           He is not a medical expert
10                           here.
11                                   MR. LORD:   Based on his
12                           experience, whether he knows or
13                           not.
14                                   MR. GOSLING:   You can
15                           answer if you know.
16        A           No, I don't know.
17   BY MR. LORD:
18        Q           Now, you said you smelled
19               the odor of alcohol, correct?
20        A           Yes.
21        Q           When did you smell this odor
22               of alcohol?
23        A           When he stepped out the
24               vehicle and he turned around.
25        Q           This was when you were




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               placing him under arrest?
 3        A           Yes.
 4        Q           So, it's fair to say that
 5               you smelled the odor of alcohol
 6               after he had been arrested?
 7        A           Yes.
 8        Q           How strong was the odor?
 9        A           It was a moderate.
10        Q           What did it smell like, what
11               type of alcoholic beverage?
12                                MR. GOSLING:     Objection.
13                           You can answer if you know.
14        A           I don't know.
15   BY MR. LORD:
16        Q           So, what happened after you
17               placed him under arrest?
18        A           He was under arrest.       We
19               called an ambulance for him.
20        Q           So, was the ambulance on the
21               scene already or you called it
22               after he was arrested?
23        A           We called it.
24        Q           Why did you call it?
25        A           To make sure he didn't have




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               any injuries.
 3        Q            Did he request an ambulance?
 4        A            I don't recall.
 5        Q            Would you have called an
 6               ambulance if he had not requested
 7               it?
 8        A            If he RMA'd then, no.
 9        Q            Was there EMS on the scene?
10        A            They were there after we
11               called them, yes.
12        Q            RMA means refused medical
13               attention, is that fair to say?
14        A            Yes.
15        Q            How long did it take EMS to
16               get to the scene?
17                                 MR. GOSLING:    Objection.
18                            You can answer.
19        A            I'm not sure.
20   BY MR. LORD:
21        Q            Can you give a time
22               estimate, 10, 15, 20, 30, 40,
23               anything?
24        A            No, I can't give an
25               estimate.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        Q           What was going on while you
 3               were waiting for EMS to arrive?
 4        A           I don't recall.
 5        Q           So, what happened when EMS
 6               arrived?
 7        A           Williams, Garfield went
 8               inside the ambulance and he was
 9               getting checked out by EMS.
10        Q           Did anything happen while he
11               was going towards the ambulance
12               or while he was in the ambulance
13               that effected your determination
14               whether or not he was
15               intoxicated?
16        A           Not that I recall.
17        Q           When did you speak to your
18               partner about what the other
19               driver told him?
20        A           When we went back to the
21               precinct.
22        Q           So, it's fair to say prior
23               to going back to the precinct you
24               had no idea what the other driver
25               had said?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A              Correct.
 3        Q              What was the color of Mr.
 4               William's face?
 5        A              What do you mean, what
 6               color?
 7        Q              Was the color of the face
 8               normal, flushed, pale or
 9               something else?
10        A              I don't recall.
11        Q              We're talking about when you
12               placed him under arrest, what was
13               the condition of his clothes;
14               were they orderly or soiled,
15               disarranged or disorderly?
16        A              I don't recall.
17        Q              What was Mr. Williams'
18               attitude?     Was he combative?     Was
19               he cooperative?     Was he
20               uncooperative?     Something else?
21        A              He didn't want to say
22               anything.     He didn't want to
23               talk.
24        Q              How would you characterize
25               someone who doesn't want to talk?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A            Uncooperative.
 3        Q            So, you are saying he was
 4               uncooperative because he didn't
 5               want to talk to you?
 6        A            He didn't want to give no
 7               information about what was going
 8               on.
 9        Q            And was he cursing or
10               belching or vomiting or
11               hiccupping or fighting or
12               anything along those lines?
13        A            No.
14        Q            What was the condition of
15               his eyes when you placed him
16               under arrest?
17        A            I saw that he was bloodshot
18               and watery.
19        Q            What was his balance?       Was
20               he steady?
21        A            No.    He was not steady.     He
22               was swaying and unbalanced.
23        Q            How was he swaying and
24               unbalanced?
25        A            He couldn't stand up on his




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               own.    He was swaying and, then he
 3               proceeded to lean on the car
 4               instead of standing up straight.
 5        Q             Was his speech clear or was
 6               it slurred?
 7        A             It was clear.
 8        Q             So, what happened after he
 9               went into the ambulance?
10        A             After he went into the
11               ambulance, EMS checked him out.
12               They asked him a few questions
13               about his condition, if any pain
14               and stuff like that.      He was
15               transported to Jacobi Hospital.
16        Q             So, were you present when
17               EMS was having this conversation
18               with Mr. Williams?
19        A             No, not all of the
20               conversation.
21        Q             Did you hear some of the
22               conversation?
23        A             Some, yes.
24        Q             Did you hear any responses
25               as to what was wrong with him or




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               how he felt?
 3        A              Not any that I can recall.
 4        Q              Do you recall anything that
 5               -- any answers that he had to the
 6               EMS?
 7        A              No.
 8        Q              How long did it take to
 9               transport him to Jacobi Hospital?
10        A              I'm unsure.
11                                  MR. GOSLING:   Objection.
12                             You can answer.
13   BY MR. LORD:
14        Q              Were you in the ambulance
15               when he was transported with
16               them?
17        A              I don't recall.
18        Q              So, you don't recall whether
19               you were in the ambulance when he
20               was transported to the hospital?
21        A              Yes, I don't recall where I
22               was.
23        Q              Do you recall where your
24               partner was?
25        A              No.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        Q            Do you recall anything that
 3               happened on that journey to the
 4               hospital?
 5        A            No.
 6        Q            What happened after you
 7               arrived at Jacobi Hospital?
 8        A            After we arrived to Jacobi
 9               Hospital, he was placed in the ER
10               section.    His attorney showed up.
11               Well, once we arrived to Jacobi
12               Hospital, he was placed in the
13               ER.   My partner stayed at the
14               hospital and I left back to the
15               precinct to retrieve leg
16               shackles.
17        Q            So, when he arrived at the
18               hospital, you went to the ER
19               waiting room, is that what
20               happened?
21        A            No.   I was at the ER section
22               with him.
23        Q            How long were you in that
24               section with him?
25        A            I can't recall.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        Q              Were you able to observe him
 3               while you were awaiting in the ER
 4               room?
 5        A              Yes.
 6        Q              Did he continue to show
 7               signs of intoxication?
 8        A              Yes.
 9        Q              What signs did he continue
10               to show?
11        A              He had the bloodshot eyes
12               and watery eyes.
13        Q              Did he have anything else?
14        A              Not at that point.
15        Q              You said at some point you
16               left the hospital?
17        A              Yes.
18        Q              Why did you leave the
19               hospital?
20        A              I went to the precinct to
21               retrieve leg shackles and other
22               paperwork I would need.
23        Q              Why did you need leg
24               shackles?
25        A              Because every time we have a




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               person under arrest in our
 3               custody in the hospital, they
 4               need leg shackles.
 5        Q              Is that the hospital policy
 6               or is that the NYPD policy?
 7        A              NYPD policy.
 8        Q              So, how long did it take you
 9               to go back to the precinct?
10        A              I'm not sure.
11        Q              Can you give a time estimate
12               for how long it took?
13        A              I don't want to give a wrong
14               time.
15        Q              You said he received
16               paperwork at the precinct,
17               correct?
18        A              What was that?
19        Q              You recovered paperwork
20               while you were at the precinct?
21        A              Yes.
22        Q              What paperwork did you
23               recover?
24        A              Medical treatment form.
25        Q              And did you fill out that




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               medical treatment form?
 3        A           Yes.
 4        Q           So, what happened after you
 5               recovered the shackles and filled
 6               out the medical treatment form?
 7        A           I headed back to the
 8               hospital.
 9        Q           And what happened when --
10               What did you observe when you
11               went back to the hospital?
12        A           What do you mean, what did I
13               observe going back to the
14               hospital?
15        Q           I will rephrase it.       What
16               happened when you went back to
17               the hospital?
18        A           So, I went back to the
19               hospital.   IDTU, which is the
20               Highway Unit, responded shortly
21               after I arrived.
22        Q           And do you know how long it
23               took them to arrive after you
24               returned?
25                               MR. GOSLING:      Objection.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                              You can answer.
 3        A              I don't know the specific
 4               time.
 5   BY MR. LORD:
 6        Q              And did you place Mr.
 7               Williams in shackles?
 8        A              I don't recall if I did it.
 9        Q              But he was placed in
10               shackles?
11        A              Yes.
12        Q              And were you able to observe
13               him during this time?
14        A              Yes.
15        Q              Was Mr. Williams still
16               showing signs of intoxication,
17               according to you?
18        A              Yes.
19        Q              What were the signs he was
20               showing?
21        A              Bloodshot and watery eyes.
22        Q              And that's it?
23        A              From where I was, yes.
24        Q              So, what happened after IDTU
25               arrived?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A           IDTU proceeded to conduct
 3               the IDTU paperwork that they do
 4               for DWI.
 5        Q           The person with the
 6               Christmas sweater, was he there
 7               when this was taking place?
 8        A           He did.
 9        Q           When did he arrive?
10        A           He arrived while IDTU was
11               there.
12        Q           And was it just him or was
13               it him and somebody else?
14                               MR. GOSLING:      Objection.
15                          You can answer.
16        A           I don't recall.
17   BY MR. LORD:
18        Q           So, what happens when the
19               IDTU is filling out his
20               paperwork?
21        A           The man with the Christmas
22               sweater is there and IDTU and he
23               is telling Garfield Williams to
24               not answer anything and to refuse
25               everything.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        Q           And what happened after he
 3               tells Mr. Williams to refuse
 4               everything?
 5        A           Garfield does not want to
 6               say anything.    He refuses to draw
 7               blood.   He refuses to conduct any
 8               tests or answer any following
 9               questions.
10        Q           Did Mr. Williams himself
11               tell you that he refused?
12        A           Yes.
13        Q           And you asked him to draw
14               blood?
15        A           I don't recall if I did or
16               the IDTU unit did.
17        Q           But someone asked him if he
18               wanted to draw blood?
19        A           Yes.
20        Q           And he refused?
21        A           Yes.
22        Q           Were any other tests
23               conducted?
24        A           There was tests conducted.
25               He refused everything.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        Q           So, he refused coordination
 3               tests as well?
 4        A           What do you mean?
 5        Q           Do you know what
 6               coordination tests are in
 7               relation to DWI?
 8        A           We don't give coordination
 9               tests.   That would be up to IDTU
10               give those tests either.       I
11               wouldn't know.
12        Q           Did IDTU ask him to give
13               coordination tests?
14        A           I don't recall.
15        Q           Did the individual in the
16               Christmas sweater say why he was
17               telling Mr. Williams to refuse?
18        A           I don't recall.
19        Q           So, did you have a
20               conversation with the IDTU about
21               whether or not Mr. Williams was
22               intoxicated?
23        A           No, I don't recall.
24        Q           Do you know if the IDTU
25               technician came to a conclusion




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               whether or not he was
 3               intoxicated?
 4        A           I don't recall.
 5        Q           Does the IDTU technician's
 6               conclusion about whether or not
 7               someone is intoxicated have any
 8               impact on whether you think you
 9               have probable cause to arrest?
10        A           No, because we already had
11               probable cause at the scene.
12        Q           So, you are saying that
13               regardless of what the IDTU
14               technician said, you were going
15               to continue to arrest Mr.
16               Williams?
17                                MR. GOSLING:     Objection.
18                                You can answer.      That's a
19                           mischaracterization, but you
20                           can answer.
21        A           Well, we already had
22               probable cause at the scene due
23               to ESU officer telling us that he
24               was intoxicated, he being
25               involved in a motor vehicle




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               accident and having bloodshot
 3               eyes, moderate odor of alcohol
 4               and swaying, imbalance, gave us
 5               probable cause to put him under
 6               arrest.
 7   BY MR. LORD:
 8        Q           If the ESU technician had
 9               not told you that he thought he
10               was intoxicated, would that have
11               affected your probable cause?
12        A           No, because I wouldn't know
13               what would be the result of my
14               investigation.
15        Q           If the IDTU technician told
16               you that he thought that Mr.
17               Williams was not intoxicated,
18               would that affect your
19               determination of probable cause?
20                                MR. GOSLING:     Objection.
21                          You can answer.
22        A           No.
23   BY MR. LORD:
24        Q           So, once you made the
25               decision to arrest Mr. Williams,




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               there was evidence to be
 3               presented with that would affect
 4               your probable cause
 5               determination?
 6        A           What do you mean by that?
 7        Q           Is there any evidence that
 8               you could be presented with that
 9               would cause you to believe that
10               Mr. Williams was not intoxicated?
11        A           (Witness' response was
12               inaudible.)
13                                 MR. GOSLING:    Can we just
14                         clarify the answer for the
15                         record?     Are you saying, "I
16                         wouldn't know," or the answer
17                         is just "No"?
18                                 THE WITNESS:    I wouldn't
19                         know.
20   BY MR. LORD:
21        Q           I thought that contradicted
22               what you just said.
23        A           I don't get what you are
24               trying to say here.
25                                 MR. LORD:   I will re-ask




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                          the question.
 3   BY MR. LORD:
 4        Q           Is there any evidence that
 5               you could have been presented
 6               with after you placed Mr.
 7               Williams under arrest that would
 8               affect your probable cause
 9               determination?
10                                MR. GOSLING:     Objection.
11                          You can answer.
12        A           No, because we already had
13               probable cause to arrest him for
14               being intox'd.
15   BY MR. LORD:
16        Q           So, there is no additional
17               evidence that would have changed
18               your determination?
19                                MR. GOSLING:     Objection.
20                          You can answer.
21        A           No.
22                                MR. LORD:    I just wanted
23                          to clarify.
24   BY MR. LORD:
25        Q           So, you said that Mr.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               Williams refused the blood test
 3               request by the IDTU technician,
 4               correct, you said that happened?
 5        A           What was that?      Sorry.
 6        Q           I'm just trying to get back
 7               to the time frame.     You said that
 8               Mr. Williams refused to take a
 9               blood test when he was asked by
10               the IDTU technician?
11        A           Yes.    And he also refused
12               questions.
13        Q           What happened after that?
14        A           After that he was discharged
15               by the Jacobi Hospital.
16        Q           Was he ever evaluated by
17               doctors?
18        A           In regards to what?
19        Q           Well, did he complain of any
20               injuries?
21        A           Yes.
22        Q           Do you remember what
23               injuries he complained of?
24        A           I don't recall exactly.
25        Q           Was he evaluated by any




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               doctors for those injuries?
 3        A           Yes.
 4        Q           Do you know the result of
 5               that evaluation?
 6        A           Well, he was discharged with
 7               no injuries.
 8        Q           And how do you know he had
 9               no injuries?
10        A           The doctor has to fill out
11               medical treatment form about what
12               were the results.
13        Q           And the doctor filled out
14               the medical treatment form?
15        A           Yes, his part.
16        Q           So, what happened after the
17               doctor said he could be
18               discharged?
19        A           He was transported back to
20               the precinct.
21        Q           And how long did that take?
22        A           I'm not sure.
23        Q           What happened when he
24               arrived at the precinct?
25        A           When he arrived at the




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               precinct, he was lodged into a
 3               prisoner cell and I started my
 4               arrest paperwork.
 5        Q              When he was locked in the
 6               cell, was he still showing signs
 7               of intoxication?
 8        A              I'm not sure.   I wasn't
 9               there the whole time.
10        Q              While you were there, was
11               he?
12        A              Yes, he had bloodshot eyes.
13        Q              Was there anything else?
14        A              Not that I can recall.
15        Q              What happened after he was
16               placed in the cell?
17        A              I started my arrest
18               paperwork.
19        Q              How long did that take?
20        A              I'm not sure of the specific
21               time.
22        Q              What happened after you did
23               your arrest paperwork?
24        A              I tidied up all the
25               paperwork, I sent it to the DA.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               I can't recall what time I
 3               finished.
 4        Q           And what happened after you
 5               sent it to the District Attorney?
 6        A           I'm not sure.
 7        Q           Did there ever come a time
 8               when you talked to a member from
 9               the Bronx District Attorney's
10               office?
11        A           Yes.
12        Q           And do you remember when
13               that was?
14        A           I believe it was the next
15               day in the morning.
16        Q           And when you had that
17               conversation, was Mr. Williams
18               still incarcerated?
19        A           I'm not sure.
20        Q           What was the content of that
21               conversation?
22        A           What do you mean?       Which
23               conversation?
24        Q           The conversation with the DA
25               or ADA.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A              With the ADA, basically I
 3               told her, well, my part, what I
 4               observed and what happened of the
 5               case.     We tried to get in touch
 6               with the victim of the other
 7               vehicle.     He didn't want to
 8               answer any questions due to the
 9               fact that he thought that we were
10               the male in the Christmas
11               sweater.     He thought that we were
12               the other driver's attorney, so
13               he refused to answer any
14               questions.
15        Q              Why would he think you were
16               the other driver's attorney?
17                                MR. GOSLING:     Objection.
18                           You can answer.
19        A              Because he was on scene.      I
20               don't know if they had a
21               conversation or something.
22   BY MR. LORD:
23        Q              Well, did you tell him that
24               you were in the New York City
25               Police Department?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A             I wasn't on the phone.      It
 3               was the ADA.
 4        Q             Do you know if the ADA told
 5               him she was a representative from
 6               the Bronx County District
 7               Attorney's office?
 8                                MR. GOSLING:     Objection.
 9                           You can answer.
10        A             Yes, but he still didn't
11               believe us.
12   BY MR. LORD:
13        Q             What is your basis for
14               saying that he didn't believe
15               you?
16        A             Because he said that he
17               didn't believe us, that he
18               thought we were the other guy's
19               attorney.
20        Q             What did she tell him when
21               she spoke with him?
22                                MR. GOSLING:     Objection.
23                                Mr. Hernandez, just let me
24                           object and then you can answer.
25                                Objection.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                                You can answer.
 3        A           I don't recall exactly what
 4               she told him.
 5   BY MR. LORD:
 6        Q           Were you on the line for
 7               this conversation?
 8        A           Yes.     It was on speaker.
 9        Q           So, why would he think that
10               you were Mr. Williams' attorney?
11                                MR. GOSLING:     Objection.
12                           You can answer.
13        A           Well, the attorney was on
14               scene.   Like I said, I don't know
15               if they had a conversation or
16               something.
17   BY MR. LORD:
18        Q           So, what exactly did he say
19               when he said he wasn't going to
20               talk to you?
21        A           I don't remember exactly
22               what he said.
23                                MR. GOSLING:     Just for the
24                           record, just so we're clear,
25                           when you are referring to "he",




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                           can you specify who you are
 3                           talking about.
 4                                MR. LORD:    The driver of
 5                           the other vehicle.
 6   BY MR. LORD:
 7        Q              So, was there anything else
 8               in that conversation besides what
 9               you just mentioned?
10        A              Not that I recall.
11        Q              And what did the ADA say to
12               you after that conversation took
13               place?
14        A              She told me that she was
15               going to go speak to her
16               supervisor.
17        Q              Then what happened after
18               that?
19        A              She decided to decline
20               prosecution.
21        Q              Do you know why she decided
22               to decline prosecution?
23        A              Because the driver of the
24               vehicle didn't want to talk about
25               what happened.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        Q           And it was your
 3               understanding that they needed
 4               the driver to commence the
 5               prosecution?
 6                               MR. GOSLING:      Objection.
 7                               He is not a district
 8                         attorney.
 9                               So to the extent that you
10                         know what conversations were
11                         had, you can answer.
12                               But note for the record he
13                         is not a lawyer.      He is not an
14                         assistant district attorney.
15                               MR. LORD:     I'm talking
16                         about the conversation they may
17                         have had.    Maybe she explained
18                         it to him.
19        A           No, not that I recall.
20   BY MR. LORD:
21        Q           So, the ADA never explained
22               to you why they were deciding to
23               decline to prosecute?
24                               MR. GOSLING:      Objection.
25                               You can answer.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A           She told me that because the
 3               driver of the other vehicle
 4               didn't want to say anything about
 5               what happened.
 6   BY MR. LORD:
 7        Q           So, that was the only reason
 8               that she gave you?
 9        A           To my understanding, yes.
10        Q           And what happened after she
11               gave you that reason?      What did
12               you do next?
13                                MR. GOSLING:     Objection.
14                           You can answer.
15        A           Nothing.     I went back to the
16               precinct.     I just waited for the
17               decline prosecution paperwork.
18   BY MR. LORD:
19        Q           And what happened after you
20               received the decline to prosecute
21               paperwork?
22        A           I don't recall.
23        Q           Was Mr. Williams ever
24               released?
25        A           Yes.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        Q           Do you know when he was
 3               released?
 4        A           I don't recall.
 5        Q           Is there anything else that
 6               you did on this case prior to
 7               receiving the decline to
 8               prosecute paperwork?
 9        A           I don't recall.
10        Q           Is there anything you did on
11               this case after receiving the
12               decline to prosecute paperwork?
13        A           I don't recall.
14        Q           Is there anything else you
15               did on this case after the
16               conversation with the ADA?
17        A           I don't recall.
18        Q           Did you receive overtime as
19               a result of this arrest?
20                                MR. GOSLING:     Objection.
21                           You can answer.
22        A           Yes.
23   BY MR. LORD:
24        Q           How much overtime did you
25               receive?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A           I don't recall.
 3        Q           You filled out a memo book
 4               in relation to this arrest,
 5               correct?
 6        A           Correct.
 7                                   MR. LORD:   I'm going to
 8                           take a ten-minute break.       Is
 9                           that okay?
10                                   MR. GOSLING:   Yes, that's
11                           fine.     So just what time did
12                           you want to come back on?
13                                   MR. LORD:   Let's do 12:25.
14                                   MR. GOSLING:   Okay.
15                                   * * * * * * * *
16                                   (At which time, a brief
17                           recess was held until 12:25
18                           p.m.)
19                                   * * * * * * * *
20   BY MR. LORD:
21        Q           So, Officer Hernandez, you
22               said earlier that your partner at
23               some point informed you what the
24               other driver said who was not Mr.
25               Williams.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                                MR. LORD:    I will
 3                           rephrase.
 4   BY MR. LORD:
 5        Q           At some point your partner
 6               told you what the other driver
 7               said to him, your partner?
 8                                MR. GOSLING:     Objection.
 9                           You can answer.
10        A           Yes.
11   BY MR. LORD:
12        Q           By "other driver", I mean
13               the driver who was not Mr.
14               Williams, okay?
15        A           Yes.
16        Q           What was the content of that
17               statement?
18        A           He told me that the other
19               driver told him that he was hit
20               from the back and that -- I don't
21               know exactly the exact words that
22               he said, but it was something
23               along the lines that the other
24               driver said that Mr. Williams
25               came out of the vehicle and




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               appeared to be intox'd and that
 3               he had a video of it.
 4        Q           So, that's what you said
 5               your partner told you?
 6        A           I'm saying it's not exactly
 7               the words that he said, but along
 8               those lines, that's what I
 9               understood.
10        Q           When you say you understood,
11               is that because he used the word
12               "intoxication"?
13                                MR. GOSLING:     Objection.
14                                Clarify who you are
15                           referring to for me.
16   BY MR. LORD:
17        Q           When your partner told you
18               this is what the other driver
19               said, he the used the word
20               "intoxication"?
21        A           Yes.
22        Q           So, I'm currently showing
23               what has been Bates stamped as
24               Defendant's 00001, D_00001 to
25               Bates number D_00003.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                               MR. GOSLING:      Just to
 3                         clarify two things; one, are
 4                         you going to be entering this
 5                         in as an exhibit?
 6                               MR. LORD:     Yes.
 7                               MR. GOSLING:      And the
 8                         second, I would like my client
 9                         to have an opportunity to
10                         review the document in its
11                         entirety before answering any
12                         questions.
13                               MR. LORD:     That's
14                         perfectly reasonable.
15                               So what I'm going to do is
16                         I'm going to give Officer
17                         Hernandez an opportunity to
18                         review.
19        Q           I will slowly scroll down.
20                    I want you to tell me when
21               you want me to scroll down and
22               then I can stop and zoom in or
23               zoom out, depending on what your
24               needs are.
25                               (At which time, counsel




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                           scrolled through the exhibit
 3                           for the witness and all
 4                           parties.)
 5   BY MR. LORD:
 6        Q           So, Officer, can you review
 7               this part of the document?
 8        A           Yes.
 9        Q           Can you see it properly?
10        A           Yes.
11        Q           So, I'm going to scroll it
12               down now.
13                                (At which time, counsel
14                           scrolled through the exhibit
15                           as requested for the witness
16                           and all parties.)
17   BY MR. LORD:
18        Q           Is that okay?
19        A           Okay.
20                                MR. GOSLING:     Let's stop
21                           it here.
22                                Officer Hernandez, just
23                           read and review this document
24                           and let us know when you are
25                           finished doing that.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                                THE WITNESS:     Okay.
 3        A              (Brief pause in proceedings
 4               as witness reviews document.)
 5                       Scroll down.
 6                                (At which time, counsel
 7                           scrolled through the exhibit
 8                           as requested for the witness
 9                           and all parties.)
10   BY MR. LORD:
11        Q              I'm going to stop right
12               here.
13        A              Okay.
14                       Scroll down.
15                                (At which time, counsel
16                           scrolled through the exhibit
17                           as requested for the witness
18                           and all parties.)
19   BY MR. LORD:
20        Q              So, this is the last page.
21               We'll go to the end and go back
22               up.
23        A              Okay.
24                                (At which time, counsel
25                           scrolled through the exhibit




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                         as indicated for the witness
 3                         and all parties.)
 4                               MR. LORD:     So I will have
 5                         this marked for identification
 6                         as Plaintiff's 1.
 7                           * * * * * * *
 8                               (Police Accident Report
 9                         MV-104AN, Bates stamped
10                         D_00001 to D_00003,
11                         consisting of 3 pages, was
12                         marked as Plaintiff's
13                         Exhibit 1 for identification
14                         as of this date by the Court
15                         Reporter;    Attached hereto.)
16                           * * * * * * *
17                               MR. GOSLING:      You are
18                         marking it as an exhibit, as
19                         Plaintiff's 1?
20                               MR. LORD:     Yes.
21   BY MR. LORD:
22        Q           Can you identify this
23               document, Officer Hernandez?
24        A           What do you mean "identify"?
25        Q           What is this document?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A             It is a police accident
 3               report.
 4        Q             Did you fill this document
 5               out?
 6        A             Yes.
 7        Q             Do you remember when you
 8               filled this document out?
 9        A             I don't remember exactly the
10               time and date that I filled it
11               out though.
12        Q             Is it part of your duties to
13               fill out accident report
14               documents?
15        A             When there is a vehicle
16               accident involved, yes.
17        Q             You have Vehicle 1 is the
18               vehicle driven by Mr. Williams?
19        A             Yes, that's what it says
20               there.
21        Q             And Vehicle 2 is the vehicle
22               driven by the other individual,
23               whose name is Carlos Jimenez?
24                                  MR. GOSLING:   Just so the
25                             record is clear, you are




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                           referring to Vehicle 1 and
 3                           Vehicle 2 as it is written in
 4                           the police accident report?
 5                                THE WITNESS:     Yes.
 6   BY MR. LORD:
 7        Q           How did you get this
 8               pedigree information from Mr.
 9               Williams?
10        A           I don't recall exactly how I
11               got it or when I got it.
12                                MR. LORD:    So, I'm going
13                           to the bottom of what has been
14                           marked as Bates D_00001.
15                                (At which time, counsel
16                           scrolled through the exhibit
17                           as indicated for the witness
18                           and all parties.)
19   BY MR. LORD:
20        Q           I want to direct your
21               attention to the "Accident
22               Description/Officer's Notes"
23               section.
24                    Did you write this section?
25        A           I did.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        Q            And when you wrote this
 3               section, how did you come about
 4               the information that you put into
 5               it?   Did someone tell this stuff
 6               to you?
 7                                 MR. GOSLING:    Objection.
 8                                 You can answer.
 9        A            Yes.
10   BY MR. LORD:
11        Q            Who told you the facts of
12               the accident?
13        A            So, my partner spoke to the
14               other driver, so he knows what
15               side of the story the other
16               driver had, and the other driver
17               obviously didn't want to say
18               anything, so we didn't have a
19               story for him.
20        Q            So, where you wrote in the
21               second sentence, Vehicle 1
22               refused --
23                                 MR. GOSLING:    There is
24                            background noise so it's kind
25                            of hard to hear.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                                 Is anyone else hearing
 3                         that?     It's on your end because
 4                         it seems to be like --
 5                                 MR. LORD:   Yes, it is.      If
 6                         it happens again, let me know.
 7                                 MR. GOSLING:    I think it's
 8                         better.
 9   BY MR. LORD:
10        Q           (Reading from Document)
11                    So, the second sentence
12               says, Vehicle 1 driver --
13                                 MR. GOSLING:    Again.
14                                 MR. LORD:   I'm going to
15                         switch microphones.
16                                 Is that any better?
17                                 MR. GOSLING:    Try talking
18                         a little bit longer.        Just say
19                         "testing".
20                                 MR. LORD:   Testing, 1-2-3.
21                         Can you hear me?
22                                 MR. GOSLING:    It's there,
23                         but it's not as loud so it's
24                         fine.
25                                 You can try.    We'll let




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                           you know.
 3                                  MR. LORD:   Can you hear me
 4                           now?
 5                                  MR. GOSLING:   Yes.
 6                                  MR. LORD:   I'm going to
 7                           stop using my headphones.
 8                                  MR. GOSLING:   It's back.
 9   BY MR. LORD:
10        Q           So the second sentence,
11               "Vehicle 1 driver refused
12               statement regarding accident."
13                    Did I read that --
14                    That's actually one whole
15               section.
16                    "At T/P/O vehicle accident
17               occurred involving two vehicles,
18               Vehicle 1 driver refused
19               statement regarding accident."
20                    Did I read that correctly?
21        A           Correct.
22        Q           That's because you are
23               saying that Mr. Williams refused
24               to give a statement regarding the
25               accident?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A           That's correct.
 3        Q           (Reading from Document)
 4                    "Vehicle driver 2", and I'm
 5               reading from the next sentence,
 6               "stated as he was driving
 7               southbound on Bronx River Parkway
 8               in the middle lane when Vehicle 1
 9               impacted the rear of Vehicle 2."
10                    Did I read that sentence
11               correctly?
12        A           Correct.
13        Q           And that was what was told
14               to you by your partner?
15        A           Correct.
16        Q           (Reading from Document)
17                    Next sentence, "Vehicle 2
18               driver RMA on scene."
19                    Did I read that correctly?
20        A           Correct.
21        Q           That "RMA" means that he
22               refused medical attention?
23        A           Correct.
24        Q           (Reading from Document)
25                    "Vehicle 1 driver taken to




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               Jacobi Hospital for back and neck
 3               pain, Vehicle 1 driver arrested
 4               for suspicion of DWI."
 5                      Did I read that sentence
 6               correctly?
 7        A             Correct.
 8        Q             So, you were told by Mr.
 9               Williams that he had back and
10               neck pain?
11        A             I don't recall.
12        Q             Was it your partner who told
13               you that Mr. Williams had back
14               and neck pain?
15        A             I don't recall exactly.
16        Q             Now, "Vehicle 1 driver
17               arrested for suspicion of DWI."
18               What do you mean by suspicion of
19               DWI?
20        A             Suspicion due to the fact
21               that we had suspected of him
22               driving DWI by the facts I said
23               earlier.
24        Q             So, what is the difference
25               between being arrested for




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               suspicion of DWI and DWI?
 3                               MR. GOSLING:      Objection.
 4                         You can answer.
 5        A           What do you mean?
 6   BY MR. LORD:
 7        Q           So when you say, "suspicion
 8               of DWI," does that mean that you
 9               are not sure whether or not it
10               was a DWI?
11                               MR. GOSLING:      Objection.
12                         You can answer.
13        A           Well, we had reasonable
14               suspicion that he was driving
15               under the influence, yes.
16                               MR. GOSLING:      Before you
17                         continue, there is more
18                         feedback coming, and now it's
19                         coming from when I speak.          I
20                         don't know if it's someone --
21                               I don't know if it's
22                         coming from someone's speaker
23                         that it's like when we talk
24                         it's just coming into the --
25




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2   BY MR. LORD:
 3        Q             Officer Hernandez, if you
 4               can't understand something that's
 5               being said, please let me know
 6               and I will have no problem
 7               repeating it.
 8        A             Okay.
 9        Q             So, when you arrest someone
10               for DWI, you put suspicion of DWI
11               or you just say I arrest them for
12               DWI?
13                                  MR. GOSLING:   Objection.
14                             You can answer.
15        A             What do you mean?
16   BY MR. LORD:
17        Q             Well, you said, suspicion of
18               DWI, correct?
19        A             Yes.
20        Q             Does that have an
21               independent meaning or is that
22               just standard language?
23        A             I'm sorry, I couldn't hear
24               the last word you said.
25        Q             Does that have an




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               independent meaning or is that
 3               the standard language that you
 4               use?
 5                               MR. GOSLING:      Objection.
 6                          You can answer.
 7        A             That's just the standard
 8               language that I use.
 9   BY MR. LORD:
10        Q             So when you say, "suspicion
11               of DWI," you just mean he was
12               arrested for DWI?
13                               MR. GOSLING:      Objection.
14                          You can answer.
15        A             Well, at the time it was
16               arrested for suspicion of DWI.
17   BY MR. LORD:
18        Q             Is that different from being
19               arrested for DWI?
20                               MR. GOSLING:      Objection.
21                          You can answer.
22        A             I'm not sure.
23   BY MR. LORD:
24        Q             So, is there a distinction
25               between being arrested for




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               suspicion of DWI versus being
 3               arrested for DWI?
 4        A            Yes.
 5        Q            What is the difference?
 6        A            Well, I don't know.       I'm
 7               guessing because you are the one
 8               asking the question.
 9        Q            I don't want you to guess.
10               Based on what you wrote, is there
11               a difference?
12        A            No.
13        Q            Okay.   Now, there is nothing
14               in here about Vehicle 2, Driver 2
15               stating that he thought the
16               driver of Vehicle 1 was
17               intoxicated, correct?
18        A            What was that?     Sorry.
19        Q            There was nothing in this
20               accident description where
21               Vehicle Driver 2 stated that
22               Vehicle Driver 1 was intoxicated?
23        A            Not in the accident report,
24               no.
25        Q            Why did you not put that in




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               the report?
 3        A           I don't recall.
 4                                MR. LORD:    So, I will stop
 5                         sharing at this stage and we'll
 6                         be opening another document.
 7                                (At which time, there
 8                         was a brief pause in the
 9                         proceedings.)
10                                MR. LORD:    I would like
11                         this exhibit to be marked as
12                         Plaintiff's 2.
13                             * * * * * * *
14                                (NYPDPETS Property and
15                         Evidence Tracking System
16                         Property Clerk Invoice,
17                         Invoice No. 2000930421,
18                         Invoice Date 12/15/2019,
19                         Bates stamped D_00004 to
20                         D_00006, consisting of 3
21                         pages, was marked as
22                         Plaintiff's      Exhibit 2 for
23                         identification as of this
24                         date by the Court Reporter;
25                         Attached hereto.)




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                               * * * * * * *
 3                                  MR. LORD:    This is, for
 4                           the record, Bates stamped
 5                           D_00004 to D_00006.
 6   BY MR. LORD:
 7        Q              So, I'm going to zoom out a
 8               little bit, give you the
 9               opportunity to review this
10               document.
11                       Mr. Hernandez, as before,
12               please review.       Once you have
13               reviewed a section, I will scroll
14               down until you have had an
15               opportunity to review every
16               section of the document in its
17               entirety.
18                       Please start reviewing.      If
19               you need me to zoom some in at
20               any point, please let me know as
21               well.
22        A              (Brief pause in proceedings
23               as witness reviews document.)
24                       Okay.
25        Q              I can scroll down?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A           Yes.
 3                                (At which time, counsel
 4                           screen shared the exhibit
 5                           with the witness and all
 6                           parties.)
 7                                MR. GOSLING:     One second.
 8                                Okay.   Just stop right
 9                           there.   I'm good whenever
10                           Officer Hernandez is.
11                                THE WITNESS:     Okay.
12                                (At which time, counsel
13                           scrolled through the exhibit
14                           as requested for the witness
15                           and all parties.)
16                                MR. LORD:     I'm going to
17                           keep going down.
18                                MR. GOSLING:     That's good.
19                           I'm good whenever Officer
20                           Hernandez is.
21                                THE WITNESS:     I'm good.
22                                MR. GOSLING:     Stop right
23                           there.
24                                Go up a little bit.        Up a
25                           little bit more.     Tiny bit




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                           more.
 3                                   I think that's good.
 4                                   THE WITNESS:   Okay.
 5                                   MR. GOSLING:   Okay.   I'm
 6                           good.
 7                                   MR. LORD:   I'm going to
 8                           the end of the document.       This
 9                           is the last page.
10                                   MR. GOSLING:   That's fine.
11                           Okay.
12   BY MR. LORD:
13        Q           Officer Hernandez, have you
14               had an opportunity to review this
15               document?
16        A           Yes.
17        Q           I'm going to back to the
18               beginning, with the Bates number
19               ending in 4.        Can you tell us
20               what this document is?
21        A           That's NYPD Pets property
22               clerk invoice which is when we
23               voucher items.
24        Q           And when do you fill out
25               these this document normally?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A           At the precinct.
 3        Q           Why do you fill it out?
 4        A           We fill it out to keep track
 5               of anything we voucher of the
 6               other person's property.
 7        Q           Do you voucher Mr. Williams'
 8               vehicle?
 9        A           Yes.
10                                MR. GOSLING:     Objection.
11                           You can answer.
12   BY MR. LORD:
13        Q           So, I want to direct your
14               attention to the vehicle detail
15               section, additional description.
16               It says, vehicle extremely
17               damaged prior to police contact,
18               all compartments are, and it
19               seems like it's cut off.        Did I
20               read that accurately?
21        A           Yes.
22        Q           You said that the vehicle
23               was extremely damaged.        What did
24               you mean by that?
25        A           It was -- it had a lot of




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               damage.
 3        Q           And why did you put that in
 4               the description?
 5        A           Because we have to describe
 6               the vehicle, how it is when we
 7               voucher it.
 8        Q           And to your knowledge was
 9               this vehicle extremely damaged
10               due to the car accident?
11                                MR. GOSLING:     Objection.
12                                Mr. Hernandez --
13                                Objection.
14                                You can answer.      Just give
15                           me an opportunity to raise
16                           objections.
17                                THE WITNESS:     Yes.
18                                MR. GOSLING:     You can
19                           answer, so just answer.
20        A           Yes.
21   BY MR. LORD:
22        Q           And to your knowledge was
23               Mr. Williams injured as a result
24               of this accident that resulted in
25               extreme damage to his vehicle?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                                MR. GOSLING:     Objection.
 3                           You can answer.
 4        A           Not that I know of, no.
 5   BY MR. LORD:
 6        Q           So, you had no idea about
 7               how he may have gotten his
 8               injuries?
 9        A           I didn't know if he had any
10               injuries.
11        Q           Didn't you say earlier that
12               he complained of -- in the
13               accident report that he
14               complained of pain?
15        A           Yes, pain, not that he was
16               actually injured.
17        Q           So, you thought that his
18               complaints of pain were not
19               honest?
20                                MR. GOSLING:     Objection.
21                                Mischaracterization.        You
22                           can answer.
23        A           That's not what I'm saying.
24               What I'm saying that pain and
25               actually being injured is two




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               different things.
 3   BY MR. LORD:
 4        Q           What is the difference
 5               between being in pain and being
 6               injured?
 7                               MR. GOSLING:      He is not a
 8                          doctor.    He is a police
 9                          officer.
10                               You can answer.
11                          Objection.    You can answer.
12        A           Being in pain is like having
13               -- I don't know how much pain he
14               was having compared to my
15               understanding of injured is
16               having, like, you know, everybody
17               has different understandings of
18               injuries, so to me, my
19               understanding is like having a
20               broken leg or something some sort
21               like that.
22   BY MR. LORD:
23        Q           So, when you write that
24               someone is not injured in the
25               report, you mean they don't have




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               something along the lines of a
 3               broken leg?
 4                               MR. GOSLING:      Objection.
 5                         You can answer.
 6        A           That's not what I'm saying.
 7               What I'm saying is I did not know
 8               at the time that he had an
 9               injury.   I just knew what he told
10               me, which was that he had pain.
11   BY MR. LORD:
12        Q           Okay.    So, what would make
13               his pain into an injury based on
14               how you conduct reports?
15                               MR. GOSLING:      Again, he is
16                         not a doctor.
17                               MR. LORD:     He is writing
18                         these statements in the
19                         reports.     I'm trying to figure
20                         out --
21                               MR. GOSLING:      Referring to
22                         any statements that were
23                         written and what those mean I
24                         will allow, but to the extent
25                         that you are asking him if he




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                         was injured --
 3   BY MR. LORD:
 4        Q           I'm not asking for a
 5               professional medical opinion.
 6               I'm asking you in terms of when
 7               you fill out reports and you talk
 8               about injuries, how you are
 9               categorizing something as injured
10               versus somebody being in pain.
11               What do you mean by that
12               distinction?
13        A           Like I said, he just told me
14               he was in pain, so that's what I
15               wrote.
16                               MR. LORD:     So, I'm going
17                         to stop sharing this.        I will
18                         be doing another document.
19                               (At which time, counsel
20                         screen shared the exhibit
21                         with the witness and all
22                         parties.)
23                               MR. LORD:     So, I am
24                         sharing what has been marked
25                         for identification as D_00016.




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 1         Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                                 MR. GOSLING:     So you are
 3                         going to be entering, as
 4                         Exhibit 3, the NYPD accident
 5                         report?
 6                                 MR. LORD:   I'm going to do
 7                         something else.        I'm going to
 8                         do another report.
 9                                 MR. GOSLING:     I'm sorry?
10                                 MR. LORD:   I'm going to do
11                         another report for Exhibit 3.
12                                 MR. GOSLING:     What is
13                         that?
14                                 (At which time, counsel
15                         screen shared the exhibit
16                         with the witness and all
17                         parties.)
18                                 MR. LORD:   That should be
19                         what I'm sharing right now.
20                         It's the arresting officers
21                         report, intoxicated driver
22                         arrest.
23                           * * * * * * *
24                                 (Arresting Officer's
25                         Report- Intoxicated Driver




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                           Arrest, PD 271-152, IDTU
 3                           Case No. 19-B-BX-116, Bates
 4                           stamped D_00023 to D_00026,
 5                           consisting of 4 pages was
 6                           marked as Plaintiff's
 7                           Exhibit 3 for identification
 8                           as of this date by counsel;
 9                           Attached hereto.)
10                             * * * * * * *
11                                MR. LORD:    This is the
12                           intoxicated driver arrest
13                           report, Bates number D_00023
14                           all the way to D_00026.
15   BY MR. LORD:
16        Q            So I just marked Plaintiff's
17               3.   As before, Officer Hernandez,
18               I'm going to give you an
19               opportunity to review this
20               document.     If you need additional
21               time, please let me know and I'm
22               going to zoom out and I'm going
23               to scroll down and give you an
24               opportunity to review all the
25               sections.     So we'll start here.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A           (Brief pause in proceedings
 3               as witness reviews document.)
 4                               MR. GOSLING:      I think
 5                         leave the zoom to read.
 6                               MR. LORD:     I'm going to
 7                         leave this up as long as you
 8                         need it.     Just let me know.
 9                               MR. GOSLING:      Okay.     Can
10                         you go back up a little.          Right
11                         there.
12                               (At which time, counsel
13                         scrolled through the exhibit
14                         as requested for the witness
15                         and all parties.)
16                               THE WITNESS:      Okay.
17                               MR. LORD:     So I'm
18                         scrolling down.
19                               (At which time, counsel
20                         scrolled through the exhibit
21                         as indicated for the witness
22                         and all parties.)
23                               THE WITNESS:      That's good.
24                               MR. GOSLING:      Okay.
25                               THE WITNESS:      Okay.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                                 MR. LORD:   I'm going to
 3                         scroll down here.
 4                                 (At which time, counsel
 5                         scrolled through the exhibit
 6                         as indicated for the witness
 7                         and all parties.)
 8                                 THE WITNESS:    Okay.
 9                                 MR. LORD:   So, this is a
10                         little dark.
11                                 THE WITNESS:    Okay.
12                                 MR. LORD:   Scrolling down
13                         some more.     Scrolling down some
14                         more.
15                                 THE WITNESS:    Okay.
16                                 MR. LORD:   I'm scrolling
17                         down again.
18                                 THE WITNESS:    Okay.
19                                 MR. LORD:   And this is the
20                         last page.
21                                 THE WITNESS:    Okay.
22   BY MR. LORD:
23        Q           Now, Officer Hernandez, did
24               you get an opportunity to review
25               this document?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A           Yes.
 3        Q           What is this document?
 4        A           It's the arresting officer's
 5               report for intoxicated driver
 6               arrest.
 7        Q           And did you fill out this
 8               report?
 9        A           Yes, I did.
10        Q           Why did you fill out this
11               report?
12        A           As part of the -- one of the
13               worksheets that we need to fill
14               out when suspected of DWI.
15        Q           I want to direct your
16               attention to the arresting
17               officers's observation at the
18               time of arrest.     This is the
19               breath section, odor of alcoholic
20               beverages.     What did you mark?
21        A           Moderate.
22        Q           That means it wasn't faint,
23               it wasn't strong and it wasn't
24               none, according to your
25               observation?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A              Correct.
 3        Q              The next section is color of
 4               face.     What was the color of
 5               face?
 6        A              It says there, normal.
 7        Q              So, the observation is that
 8               his face had a normal color?
 9        A              Correct.
10        Q              So, the next category is
11               clothes.     What is the condition
12               of his clothes?
13        A              It's checked there, orderly.
14        Q              That means they weren't
15               disarranged, disorderly or
16               soiled, correct?
17        A              Correct.
18        Q              His attitude, what did you
19               mark for his attitude?
20        A              Cooperative.
21        Q              That means he was not
22               uncooperative or combative or
23               talkative, correct?
24        A              Correct.
25        Q              So, the actions, we have




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               profanity, belching, vomiting,
 3               hiccupping, fighting; all of
 4               these are left blank, correct?
 5        A           Correct.
 6        Q           And those are left blank
 7               because you did not observe any
 8               of those things?
 9        A           Correct.
10        Q           His eyes, what were the
11               condition of his eyes you say you
12               observed?
13        A           Watery and bloodshot.
14        Q           And his balance, what did
15               you say his balance was that you
16               observed?
17        A           Swaying.
18        Q           So, you are saying he wasn't
19               steady?
20        A           Correct.
21        Q           But he wasn't sagging?
22        A           Correct.
23        Q           And he wasn't falling?
24        A           Correct.
25        Q           What about his speech?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A            I have marked there, clear.
 3        Q            And is that because you
 4               observed his speech to be clear?
 5        A            From what I observed.
 6        Q            The section that says,
 7               preliminary breath test, did you
 8               mark no?
 9        A            Correct.
10        Q            Why did you not request a
11               preliminary breath test?
12        A            We did request.      He refused
13               every test and question.
14        Q            So, what is a preliminary
15               breath test?
16        A            Well, I'm not sure what that
17               is.   We don't conduct those.
18               Those would be conducted by IDTU.
19        Q            So, your understanding is
20               that IDTU conducts preliminary
21               breath tests?
22        A            Correct.
23        Q            Now, I'm looking at now what
24               has been marked as ending 24,
25               Bates number.     What does it say




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               right here what you wrote over
 3               these series of questions?
 4        A           Refusal by attorney
 5               Toussaint.
 6        Q           What does that mean?
 7        A           That means the attorney was
 8               there present and he refused for
 9               Garfield to answer any questions.
10        Q           So, Attorney Toussaint is
11               the one who actually refused?
12        A           Both of them refused.
13        Q           So, why didn't you write
14               refused by Mr. Williams?
15        A           Because the attorney was
16               there present saying that he
17               should not answer any questions
18               and refused tests.
19        Q           Okay.    So, I'm at looking
20               right now at what is ending Bates
21               number ending 25, and I will
22               direct your attention to -- Let
23               me ask you this question.        Did
24               you fill out this refusal paper
25               or did the IDTU technician fill




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               this one out?
 3        A             Well, we have different
 4               parts that we fill out.
 5        Q             What part do you fill out?
 6        A             The pedigree information.
 7        Q             So, that's the name up top,
 8               this stuff in the top section?
 9        A             Yes, and some of the bottom
10               parts also as well.
11        Q             So the Section B, who filled
12               that out?
13        A             That's me.   I filled that
14               out.
15        Q             So, you said he has poor
16               stability on feet?
17        A             Correct.
18        Q             And you say he has an
19               alcohol beverage odor?
20        A             Yes.
21        Q             Is there a reason why you
22               didn't list the actual alcohol
23               beverage?
24        A             How would I know the exact
25               odor of a beverage?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        Q           Do you do alcohols give off
 3               different odors?
 4                                MR. GOSLING:     Objection.
 5                           You can answer.
 6        A           To my understanding, yes.
 7   BY MR. LORD:
 8        Q           So, are you able to identify
 9               some of those odors is given off?
10                                MR. GOSLING:     Objection.
11                           You can answer.
12        A           What do you mean by that?
13   BY MR. LORD:
14        Q           Could you identify it as
15               being beer versus vodka smell of
16               alcohol?
17        A           No.
18        Q           You are unable to do that or
19               you don't think that exists?
20        A           I wouldn't be -- I don't
21               think I would be able to identify
22               a beer versus an alcohol
23               beverage.
24                                MR. GOSLING:     Objection.
25                                Wait.   Are we referring




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                              to, like, the breath?
 3                                      MR. LORD:    Yes, the odor
 4                              of alcohol, identifying the
 5                              type of alcohol through the
 6                              odor.
 7                                      MR. GOSLING:    I
 8                              understand.
 9                                      Sorry.    Go ahead.
10   BY MR. LORD:
11        Q              So, I'm now going to what is
12               Bates number ending 26.             Again,
13               there is some more.             There is
14               another section.           What did you
15               write on the top of this section?
16        A              Refusal by Attorney
17               Toussaint.
18        Q              And what is the section
19               right here, it says conclusion of
20               IDTU technician, does it say
21               that?
22        A              Yes.
23        Q              "Is this subject under
24               influence of intoxicating
25               beverage/drugs?           It says, yes,




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               no, other.     What was marked down?
 3        A           I did not mark that.        I
 4               wouldn't be able to tell what
 5               that said.
 6        Q           Can you tell what is marked
 7               on this paper?
 8        A           There is a check on "other".
 9        Q           And is there any explanation
10               for "other"?
11        A           I can't tell what that says.
12        Q           If I said, unable to
13               determine, do you think it says
14               that or could say that?
15        A           It could say that, yes.
16        Q           You said you didn't fill
17               this out.    Who filled out this
18               section?
19        A           It says, completion of IDTU
20               technician, so, most likely he
21               filled it out.
22        Q           What is an IDTU technician?
23        A           IDTU technician is Highway
24               Patrol officer.     They conduct the
25               blood test, Breathalyzer, vehicle




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               accident.     That is their main
 3               work.     And also for in cases
 4               every time there is a DWI, they
 5               respond to the hospital and the
 6               precinct.
 7        Q              So, if you are aware, do
 8               IDTU technicians get additional
 9               training?
10                                MR. GOSLING:     Objection.
11                                You can answer.      Whatever
12                           you know.
13        A              I'm not sure.
14   BY MR. LORD:
15        Q              Well, to your knowledge,
16               does the IDTU technician have
17               training that you do not have?
18                                MR. GOSLING:     Objection.
19                                You can answer to the
20                           extent you know.
21        A              I don't know.
22   BY MR. LORD:
23        Q              Well, let me ask you this,
24               do you know how to give out
25               coordination tests for DWI?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                                MR. GOSLING:     Objection.
 3                           You can answer.
 4        A              We don't get trained for
 5               that.
 6   BY MR. LORD:
 7        Q              Can an IDTU technician give
 8               out coordination tests for DWI?
 9                                MR. GOSLING:     Objection.
10                                To the extent that you
11                           know, you can answer.
12        A              I would not know.
13   BY MR. LORD:
14        Q              You do not know if IDTU
15               technicians is trained how to
16               give out coordination tests?
17                                MR. GOSLING:     Objection.
18                           You can answer.
19        A              I would not know.
20   BY MR. LORD:
21        Q              Have you ever seen an IDTU
22               technician give out a
23               coordination test?
24        A              I never seen it.
25        Q              In the two other arrests




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 1         Defendant POLICE OFFICER OSCAR HERNANDEZ
 2             that you made for DWI, were
 3             coordination tests given?
 4                               MR. GOSLING:      Objection.
 5                               What is the relevance?
 6                               MR. LORD:     That is not a
 7                         legitimate objection.
 8                               MR. GOSLING:      You are
 9                         asking about other arrests.
10                         You are asking about other
11                         arrests.     You are not asking
12                         about this arrest.
13                               To the extent you want to
14                         ask about this arrest, but to
15                         the extent that you are going
16                         to ask about another arrest,
17                         that could be privileged
18                         information.
19                               MR. LORD:     Your argument
20                         is that whether coordination
21                         tests were given in another
22                         arrest is privileged?
23                               MR. GOSLING:      Counsel, you
24                         are asking him if he knows
25                         whether or not the coordination




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 1         Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                         tests were conducted during
 3                         another arrests is not the
 4                         basis of that lawsuit.         There
 5                         is no reason to be discussing
 6                         other DWI's or information
 7                         pertaining --
 8                               MR. LORD:     He is saying he
 9                         has no knowledge.       He said he
10                         has no knowledge of whether
11                         IDTU technicians can give out
12                         coordination tests.
13                               MR. GOSLING:      He is not an
14                         IDTU technician, so you are
15                         asking, to the effect, that he
16                         knows.
17                               MR. LORD:     Maybe you do
18                         not know, but when a person is
19                         arrested on DWI, they are taken
20                         to a specific precinct and he
21                         is present when these tests are
22                         conducted.
23                               MR. GOSLING:      Counsel, I
24                         think you can ask him questions
25                         pertaining to this case.         I




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 1         Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                         don't know if those other
 3                         incidents are pending, if those
 4                         criminal lawsuits are pending.
 5                         I'm not sure whether those
 6                         arrests have anything to do
 7                         with this case, so you are --
 8                         if you are asking him if he
 9                         observed, fine.       I don't want
10                         to get into details now.
11                               MR. LORD:     You are
12                         instructing him not to answer
13                         the question?
14                               MR. GOSLING:      I'm saying
15                         he can answer the question
16                         about what he observed, but I'm
17                         instructing him to not answer
18                         any questions concerning other
19                         DWI's that do not concern this
20                         lawsuit.
21                               MR. LORD:     He is not
22                         allowed to answer any
23                         observations that he may have
24                         made of IDTU technicians in
25                         other arrests?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                                  MR. GOSLING:   I'm saying
 3                           he can answer questions about
 4                           whether if he ever observed an
 5                           IDTU officer do a coordination
 6                           test, but I don't want him
 7                           giving any information about
 8                           that arrest or when the arrest
 9                           was.    It's not relevant to this
10                           lawsuit.
11   BY MR. LORD:
12        Q              Officer, have you observed
13               an IDTU technician give
14               coordination tests?
15                                  MR. GOSLING:   Objection.
16                                  You can answer.
17        A              Not that I recall.
18   BY MR. LORD:
19        Q              So, did an IDTU technician
20               inform you that he did not
21               believe that Mr. Williams was
22               under the influence of drugs or
23               alcohol?
24        A              No, he did not inform me of
25               that.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        Q           Did you ever ask him what
 3               his conclusion was?
 4        A           No, I did not.
 5        Q           Did you get an opportunity
 6               to review this paperwork?
 7        A           Yes, I did.
 8        Q           Is this paperwork forwarded
 9               to the Bronx County District
10               Attorney's office?
11        A           Yes, it is.
12        Q           Is it your responsibility to
13               forward this paperwork?
14        A           Yes, it is.
15        Q           Do you review the paperwork
16               before you forward it to the
17               District Attorney's office?
18        A           Yes, it is.
19        Q           So, you would have reviewed
20               the section where it says that he
21               did not conclude that Mr.
22               Williams was intoxicated?
23                               MR. GOSLING:      Objection.
24                               I think that is a
25                         mischaracterization of what the




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                           document actually says.       It
 3                           says, "unable to determine."
 4                                   But you can answer if you
 5                           know.
 6        A           I was going to say it does
 7               not say that what you are saying.
 8               It says, unable to determine.
 9   BY MR. LORD:
10        Q           Well, so there is a category
11               that says, yes, correct?
12        A           Correct.
13        Q           There is a category that
14               says, no, correct?
15        A           Correct.
16        Q           So, he did not mark the
17               "yes" category?
18        A           And he did not mark the 'no'
19               category.
20        Q           But you marked the "yes"
21               category previously, correct?
22                                   MR. GOSLING:   Objection.
23                                   Can you refer to what you
24                           are talking about?
25




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2   BY MR. LORD:
 3        Q           So, I refer to -- this is
 4               Bates ending 23.     It says, "Is
 5               subject under the influence of
 6               Intoxicating Beverages/Drugs?"
 7               You marked "yes," correct.
 8        A           Correct.
 9        Q           So, is it fair to say that
10               the IDTU technician disagreed
11               with your assessment?
12                               MR. GOSLING:      Objection.
13                          You can answer.
14        A           No.
15   BY MR. LORD:
16        Q           Well, he had the opportunity
17               to mark "yes", correct?
18        A           Correct.
19        Q           And he chose not to mark
20               "yes"?
21        A           Correct.     As well he did not
22               mark "no".
23        Q           If you had the "other" got
24               category, would you have marked
25               "other" as well?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A           No.
 3        Q           As you stand here now, do
 4               you agree with the determination
 5               of "other"?
 6        A           I would not know what were
 7               the basis for him to select that,
 8               so I wouldn't know.
 9        Q           Do you agree with it?
10        A           I cannot answer for him, so
11               I would not know.
12        Q           I'm asking you do you agree
13               with that determination?
14                               MR. GOSLING:      Objection.
15        A           No.
16                               MR. GOSLING:      You can
17                          answer.
18   BY MR. LORD:
19        Q           What was the answer, I'm
20               sorry?
21        A           No.
22                               MR. LORD:     I'm stopping
23                          sharing and we'll go to another
24                          document.
25                               MR. GOSLING:      You need a




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                         break or anything?
 3                               You are good, Officer
 4                         Hernandez?
 5                               THE WITNESS:      I'm good.
 6   BY MR. LORD:
 7        Q           So, we're on Exhibit 4.
 8                               MR. GOSLING:      Are you
 9                         marking another exhibit?
10                               MR. LORD:     Yes.
11                               MR. GOSLING:      Just give me
12                         one second, please.
13                               (At which time, there
14                         was a brief pause in the
15                         proceedings.)
16                               MR. GOSLING:      What are we
17                         marking for 4?
18                               MR. LORD:     I'm going to
19                         share it right now.
20                               (At which time, counsel
21                         screen shared the exhibit
22                         with the witness and all
23                         parties.)
24                               MR. LORD:     Okay.    So, I'm
25                         looking at what has been marked




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                         as Bates number D_00050 to
 3                         Bates number D_000051.
 4                               I would like this exhibit
 5                         marked as Plaintiff's 4, and
 6                         this is the Affidavit of
 7                         Support of the
 8                         Declining/Deferring
 9                         Prosecution.
10                           * * * * * * *
11                               (Affidavit in Support
12                         of Declining/Deferring
13                         Prosecution, Arrest Date:
14                         12/15/2019, Bates stamped
15                         D_00050 to D_000051,
16                         consisting of 2 pages was
17                         marked as Plaintiff's
18                         Exhibit 4 for identification
19                         as of this date by the Court
20                         Reporter;     Attached hereto.)
21                           * * * * * * *
22   BY MR. LORD:
23        Q           So, I'm going to give you
24               the opportunity to review this
25               document, Officer Hernandez.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                    You can let me know.         Take
 3               as long as you need.
 4        A           (Brief pause in proceedings
 5               as witness reviews document.)
 6                                  MR. GOSLING:    You can move
 7                          down whenever he is ready.
 8                                  THE WITNESS:    I'm ready.
 9                                  (At which time, counsel
10                          scrolled through the exhibit
11                          as requested for the witness
12                          and all parties.)
13                                  MR. GOSLING:    At the top
14                          where it says, "Reason(s) for
15                          Declining/Deferring
16                          prosecution."
17                                  MR. LORD:   I can move
18                          down.
19                                  MR. GOSLING:    Yes, that's
20                          perfect.
21        A           Okay.
22   BY MR. LORD:
23        Q           Okay.     And I'm going to
24               scroll all the way down to this
25               section.     I believe this is the




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               end of the document, so you let
 3               me know.
 4                                (At which time, counsel
 5                          scrolled through the exhibit
 6                          as indicated for the witness
 7                          and all parties.)
 8                                MR. GOSLING:     That's fine.
 9        A           Okay.
10   BY MR. LORD:
11        Q           So, Officer Hernandez, what
12               is this document?
13        A           That's the affidavit.
14        Q           Okay.     And what do you mean,
15               "affidavit"?     Affidavit for what?
16        A           For the case.
17        Q           What does this affidavit do?
18               What is the significance of it?
19                                MR. GOSLING:     I would like
20                          to note my objection.
21                                This document is not
22                          prepared by the officer, at
23                          least I don't believe it's
24                          prepared by the officer.        It's
25                          a document prepared by the




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                           district attorney's office.
 3                                  To the extent you know
 4                           about this document, but it's
 5                           not prepared by him.
 6        A              As far as I know, it's an
 7               affidavit about, basically, the
 8               case.
 9   BY MR. LORD:
10        Q              And you said you received
11               this document earlier?
12        A              Correct.
13        Q              And you received this
14               document after you had spoken
15               with the ADA?
16        A              Correct.
17        Q              (Reading from Document)
18                       Now, I'm in "Category for
19               Declining/Deferring prosecution:"
20                       "The People do not have
21               sufficient evidence to prove the
22               defendant committed the crime(s)
23               charged beyond a reasonable
24               doubt."
25                       Do you remember reading this




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               section I'm highlighting?
 3        A           Yes.
 4        Q           And what did you think of
 5               this when you read it?
 6                                MR. GOSLING:     Objection.
 7                           You can answer.
 8        A           That?     I didn't think
 9               anything.
10   BY MR. LORD:
11        Q           Do you agree with that?
12        A           No.
13        Q           What do you disagree on?
14                                MR. GOSLING:     Objection.
15                                I mean, Counsel, this is a
16                           DA document.     He is not a
17                           lawyer.   It's about a standard
18                           of beyond a reasonable doubt.
19                           This is beyond the scope of
20                           what he knows.     He doesn't
21                           prosecute cases.     He is a
22                           police officer.
23                                If you know, you can
24                           answer.
25                                MR. LORD:     Malicious




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 1         Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                         prosecution is a standard that
 3                         applies to officers as well.
 4                         Officers are trained in terms
 5                         of what probable cause is and
 6                         they are trained in lawsuits
 7                         and other things.
 8                                 MR. GOSLING:    Counsel,
 9                         there is a clear difference
10                         between a standard of what
11                         probable cause is and whether
12                         what proving a case beyond a
13                         reasonable doubt is.
14                                 You are asking our client
15                         here.     Police Officer Hernandez
16                         is not a district attorney.          He
17                         does not prosecute cases in the
18                         Bronx.     This document was not
19                         completed by him, so you are
20                         asking him to describe a
21                         statement about why the DA
22                         could not prove their case
23                         beyond a reasonable doubt and
24                         asking his opinion about it.
25                         There is no basis to know that




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 1         Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                         he knows what beyond a
 3                         reasonable doubt and all of
 4                         that is.     That's why I said,
 5                         "to the extent that you know."
 6                               MR. LORD:     I'm asking his
 7                         opinion.     I'm allowed to
 8                         present him with any document
 9                         and ask his opinion.
10                               MR. GOSLING:      You can ask
11                         his opinion, but you are
12                         assuming that he knows what
13                         "beyond a reasonable doubt"
14                         means.
15                               MR. LORD:     Counsel, I'm
16                         not assuming anything.         I'm
17                         asking a question.        I'm not
18                         assuming any facts not in
19                         evidence.     This is a document
20                         that he received, that he
21                         reviewed.     I'm asking his
22                         opinion about the words in the
23                         document.     That is all I'm
24                         doing.
25                               MR. GOSLING:      That's fine.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                         You can ask his opinion about
 3                         it.
 4   BY MR. LORD:
 5        Q           (Reading from Document)
 6                    What is your opinion about
 7               the statement that "The People do
 8               not have sufficient evidence to
 9               prove the defendant committed the
10               crime(s) charged beyond a
11               reasonable doubt"?
12        A           I don't agree with it.
13        Q           Why don't you agree with it?
14        A           Because the only reason they
15               declined to prosecute was because
16               they can't get in touch with the
17               other driver.
18        Q           And why do you think that's
19               not enough?
20                               MR. GOSLING:      Objection.
21                               You can answer about your
22                         opinion.
23        A           That's my opinion.
24   BY MR. LORD:
25        Q           (Reading from Document)




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                      It says -- I'm going to the
 3               third paragraph, the second
 4               sentence -- "The Arresting
 5               Officer was unable to speak with
 6               the first officer to arrive on
 7               the scene, Detective Leon from
 8               ESU (Shield #4232) to determine
 9               if Detective Leon observed the
10               Defendant operating a motor
11               vehicle or if the Defendant made
12               any statements to Detective
13               Leon."
14                      Is this an accurate
15               statement?
16        A             That's what's written there,
17               yes.
18        Q             So, is that statement true?
19        A             Well, they tried calling the
20               officer since the driver of the
21               other vehicle was not picking up
22               anymore calls.
23        Q             Okay.   And is this statement
24               true, that you were unable to
25               speak with him when he arrived on




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               the scene to ask him these
 3               questions?
 4        A           It's saying I wasn't able to
 5               speak with him while I was with
 6               the ADA.
 7                               MR. GOSLING:      Counsel, can
 8                          we clarify when you are
 9                          referring to "him", who you are
10                          referring to.
11                               MR. LORD:     Detective Leon.
12        Q           (Reading from Document)
13                    I'm reading --
14                    I'm going to read that
15               partial sentence.
16                    It says, "The Arresting
17               Officer was unable to speak with
18               the first officer to arrive on
19               the scene."
20                    So that means that you were
21               unable to speak with him at the
22               time that you were determining
23               whether to prosecute?
24                               MR. GOSLING:      Again, when
25                          you are referring to "him" you




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                           are referring to?
 3                                MR. LORD:    Detective Leon.
 4        A           Yes.     While I was speaking
 5               with the ADA, they tried to call
 6               that officer to see what were his
 7               view or what happened, whether he
 8               saw, and we couldn't get in touch
 9               with him either; that's what
10               that's saying.
11   BY MR. LORD:
12        Q           Is there a way that police
13               officers communicate with each
14               other?   You have a cell phone?
15                                MR. GOSLING:     Objection.
16                           You can answer.
17        A           I looked up his cell phone.
18   BY MR. LORD:
19        Q           And you called his cell
20               phone and he didn't pick up, is
21               that what happened?
22        A           Correct; his department cell
23               phone.
24        Q           Is there a reason why you
25               couldn't call the next day?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                                  MR. GOSLING:   Objection.
 3                                  You can answer if you
 4                          know.
 5        A           I don't know.       I just was
 6               calling at that time with the ADA
 7               that was next to me.
 8   BY MR. LORD:
 9        Q           At any point did you tell
10               the ADA to give you time to reach
11               out to contact Detective Leon?
12                                  MR. GOSLING:   Objection.
13                          You can answer.
14        A           No.
15   BY MR. LORD:
16        Q           I'm reading from the second
17               paragraph, four sentences down.
18                    So I'm going to start
19               with --
20                                  MR. GOSLING:   You are
21                          saying four "sentences."         For
22                          the record, it's four lines.
23                                  MR. LORD:   Four lines.
24                                  MR. GOSLING:   I think it's
25                          actually the third sentence.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                                MR. LORD:    It's actually
 3                           the second sentence.      It's a
 4                           long sentence.
 5                                MR. GOSLING:     It's the
 6                           third.
 7                                MR. LORD:    I'm starting
 8                           with the third.
 9                                MR. GOSLING:     It's the
10                           third sentence, yes.
11   BY MR. LORD:
12        Q           (Reading from Document)
13                    So, I'm reading now,
14               "Further, the Complainant would
15               not pick up any further calls
16               from NYPD or the District
17               Attorney's office."
18                    Did I read that accurately?
19        A           Yes.
20        Q           You said earlier that he
21               thought that you guys were
22               Mr. Williams' attorney, correct?
23                                MR. GOSLING:     Objection.
24   BY MR. LORD:
25        Q           You said that earlier?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                               MR. GOSLING:      Said what,
 3                         Counsel?
 4                               MR. LORD:     He said that
 5                         this individual, Carlos
 6                         Jimenez, thought that they were
 7                         Mr. Williams' attorney when
 8                         they called.
 9                               MR. GOSLING:      You can
10                         answer.
11        A           Correct.
12   BY MR. LORD:
13        Q           So, when you spoke with him,
14               did you identify yourselves as a
15               member of the Bronx District
16               Attorney's office and New York
17               Police Department?
18        A           Correct.
19        Q           And you are saying he didn't
20               believe you, he thought you were
21               lying?
22        A           Correct.
23                               MR. LORD:     I'm going to
24                         stop sharing here.
25                               MR. GOSLING:      Are we




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 1         Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                         putting in a 5?
 3                               MR. LORD:     Yes.
 4                               MR. GOSLING:      What is 5?
 5                               MR. LORD:     5 is going to
 6                         be a body cam video.
 7                               MR. GOSLING:      Can you
 8                         specify which body camera
 9                         video?
10                               MR. LORD:     It's a body cam
11                         video.    The label is
12                         AXON_BODY_2_VIDEO
13                         DEO_2019-12-15_0034.
14                               MR. GOSLING:      Can you just
15                         read that back for me, please.
16                               (At which time, the
17                         requested portion of
18                         colloquy was read back by
19                         the stenographer.)
20                           * * * * * * *
21                               (Body cam video labeled
22                         AXON_BODY_2_VIDEO
23                         DEO_2019-12-15_0034 was
24                         marked as Plaintiff's
25                         Exhibit 5 for identification




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 1         Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                         as of this date by the Court
 3                         Reporter; retained by
 4                         counsel.)
 5                           * * * * * * *
 6                               MR. LORD:     So, I'm going
 7                         to attempt to share.
 8                               (At which time, counsel
 9                         screen shared the exhibit
10                         with the witness and all
11                         parties.)
12                               MR. GOSLING:        Are you
13                         going to be asking any
14                         questions about audio
15                         pertaining to the video?
16                               MR. LORD:     No.     No audio.
17                               MR. GOSLING:        Because of
18                         technology.
19                               MR. LORD:     So, I'm
20                         starting at 0:00.         I'm going to
21                         play about ten seconds.
22                               (At which time, the
23                         portion of video identified
24                         by counsel was played back.)
25                               MR. LORD:     I'm stopping at




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                          11 seconds for the body camera
 3                          ending 0034.
 4   BY MR. LORD:
 5        Q           Do you know who these two
 6               individuals are in this video?
 7        A           No.
 8                               MR. GOSLING:      Just so
 9                          we're clear, you are asking if
10                          he knows who the individuals
11                          are in the video when the video
12                          was stopped at 0 seconds?
13                               MR. LORD:     Yes.    Should
14                          say 00.   It should say 00:00.
15   BY MR. LORD:
16        Q           So, there is an individual
17               in a red hoodie, correct?
18        A           Correct.
19        Q           And there is an individual
20               who seems like they have a
21               sweater on that has multiple
22               colors.
23                    Can you see that?
24        A           It's kind of dark, but,
25               okay, yes.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        Q           Do you know who these two
 3               individuals are now?
 4                                MR. GOSLING:     Just for the
 5                           record, can we just clarify
 6                           where you have it paused, both
 7                           of these individuals have their
 8                           backs facing the camera?
 9                                MR. LORD:    Yes.
10                                MR. GOSLING:     Okay.    You
11                           can answer if you know.
12        A           Yes.     So, the one with the
13               green hoodie, that was the male
14               that approached us saying that he
15               was the attorney, and the one
16               with the red, I can't figure out
17               because he is turned around, so I
18               don't know exactly who he is.
19   BY MR. LORD:
20        Q           I want you to focus on the
21               individual on the right and I
22               want you to give me your
23               observation.
24                                MR. LORD:    I'm going to go
25                           from 00:00 to 00:11.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                                   (At which time, the
 3                           portion of video identified
 4                           by counsel was played back.)
 5                                   MR. LORD:     I have stopped
 6                           it.     I'm at 00:12.     We stopped
 7                           at one second over.
 8   BY MR. LORD:
 9        Q              Were you able to observe the
10               individual in the red sweatshirt?
11        A              From the back, yes.        Only
12               from the back.
13        Q              Was he stumbling?
14        A              I couldn't tell.        There was
15               someone blocking the view.
16        Q              So, who is blocking the
17               view?
18                                   MR. LORD:     I will scroll
19                           back.     I have to press play.
20                           One second.
21                                   (At which time, the
22                           portion of video identified
23                           by counsel was played back.)
24   BY MR. LORD:
25        Q              I'm at 00:02.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                    Who is blocking the view?
 3        A           So, when he walks, the guy
 4               in the green sweater blocks him,
 5               so you can't really see.
 6        Q           While he is standing right
 7               now, are you able to see him
 8               unobstructed?
 9        A           Now, yes.     His back.
10        Q           How would you characterize
11               his balance now?
12        A           I can't tell.      The video is
13               paused.
14        Q           So, I'm going to play it.
15               And I'm stopping, again, at
16               00:05.    Has your view been
17               obstructed in any way while you
18               are watching the video of the
19               person in the red?
20        A           Not at that moment, no.
21        Q           So, how is his balance?
22                                MR. GOSLING:     Objection.
23                          You can answer.
24        A           I can't tell because the
25               body camera is moving back and




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               forth.
 3        Q           The body camera is moving
 4               back and forth?
 5        A           Yes, you played it.
 6        Q           So, I'm going to play from
 7               00:00, play from the beginning.
 8               Your testimony is the body cam is
 9               moving back and forth in such a
10               manner that you are unable to
11               ascertain the individual in the
12               red's balance?
13        A           Correct.
14        Q           So, according to you, you
15               are unable to determine his
16               balance while he is standing?
17                                MR. GOSLING:     Again,
18                         objection.     This is asked and
19                         answered.     You are asking to
20                         make a determination based on
21                         body camera.
22        Q           So, I'm playing the body
23               video right now.
24                                MR. GOSLING:     Objection.
25                         Go ahead, counsel.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                                MR. LORD:     I didn't ask
 3                           the question.
 4        Q           So, we're going to 00.         I'm
 5               trying to do this right.        So from
 6               00:05, 00:06, 00:07.        He walks.
 7               So I'm directing your attention
 8               to the seconds that I just
 9               said:05 06, 07, 08.      The
10               individual in the red sweatshirt
11               is walking towards the back of
12               the vehicle, correct?
13        A           Correct.
14        Q           And I'm going to start
15               playing, right.     I'm going to
16               start playing at 00:06.        Please
17               let know me know when you find
18               that your view of his balance is
19               obstructed.     Do you understand
20               what I'm asking?
21        A           So, to let you know when the
22               view is obstructed.
23        Q           Yes.
24        A           Okay.     Right there.     I can't
25               see him anymore.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        Q           So, is it fair to say that
 3               in that instance you took
 4               approximately two steps before it
 5               was obstructed?
 6        A           I'm not sure.      I wasn't
 7               counting the steps.
 8        Q           Let see if we can count the
 9               steps.   How many steps would you
10               characterize there?
11        A           Two.
12        Q           In those two steps was he
13               swaying or unbalanced?
14        A           I'm not sure.
15                                MR. GOSLING:      Objection.
16                           You can answer.
17        Q           You are not sure whether he
18               was swaying?
19                                MR. GOSLING:      Objection.
20                           Counsel, asked and answered
21                           numerous times.
22                                MR. LORD:    All right.
23                                MR. GOSLING:      Counsel,
24                           this is harassment.
25                                MR. LORD:    That's absurd.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                         You can have your opportunity.
 3                         I'm asking him his video
 4                         observation from the body cam.
 5                               MR. GOSLING:      He clearly
 6                         answered numerous times.
 7                               MR. LORD:     I'm now
 8                         narrowing it down to the two
 9                         seconds.     I'm talking about the
10                         two steps that he took.         I'm
11                         asking in those two steps that
12                         he just saw that he said was
13                         unobstructed whether or not the
14                         individual in the red
15                         sweatshirt was swaying.
16                               MR. GOSLING:      Objection.
17                         You can answer.
18        A           Can you play the video
19               again.
20                               MR. LORD:     Let the record
21                         reflect that this is going to
22                         be at -- I'm starting at 4.
23                               MR. GOSLING:      Now it's at
24                         8.
25                               MR. LORD:     I stopped.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                                MR. GOSLING:     If you are
 3                           going to start at 4, go back to
 4                           4 seconds and hit play before
 5                           you ask any questions.
 6                                MR. LORD:     I just did.     Do
 7                           you want me to do it?
 8        A           It's impossible to tell if
 9               he swaying or not because he
10               swings to the right avoiding
11               contact with the green sweater,
12               then he goes to the left to open
13               the door.
14        Q           So, you are saying it's
15               impossible to determine whether
16               he is swaying in this clip?
17        A           In those two seconds, four
18               seconds of clip.
19        Q           So I'm going to a different
20               time frame.     So, I'm going to
21               start right here and we're at --
22               this is body cam ending 0034.
23               We're going to be at 01:19.         I'm
24               going to let it play.        I'm going
25               to stop it.     There is audio




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               playing.        I'm not going to be
 3               asking questions about the audio,
 4               so you do not have to worry about
 5               that.     So I'm going to start
 6               playing now.        Okay.   All right.
 7               So I stopped it at 01:31.          Were
 8               you able to see that individual
 9               in the red sweatshirt get out of
10               the vehicle?
11        A              Yes.
12        Q              Were you able to see him
13               walk?
14        A              I couldn't see his feet.
15        Q              You couldn't see his feet.
16               Could you see the rest of his
17               body?
18        A              Just the torso.
19        Q              Let me go.     So you could see
20               the upper half of his body, is
21               that correct?
22                                   MR. GOSLING:    Can you
23                              specify which section you are
24                              going to play and then ask
25                              questions based on that.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                                MR. LORD:    I have to play
 3                           it first.
 4        Q              So I'm at 01:25 and I have
 5               paused the video ending 0034.
 6               What can you see of the
 7               individual in the red sweatshirt?
 8        A              I see just his upper torso
 9               and head.
10        Q              Are you able to see him walk
11               out of the vehicle?
12                                MR. GOSLING:     Objection.
13                           You can answer.
14        A              I didn't see him walk.      I
15               just saw him get out of the
16               vehicle.
17        Q              How did he get out of the
18               vehicle?
19        A              He stood up and closed the
20               door.
21        Q              Does he walk after he gets
22               out of the vehicle?
23        A              Sure.
24                       Can you play the video?
25                                MR. LORD:    I'm going to go




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                          back.     I'm going to play.
 3                                  (At which time, the
 4                          portion of video identified
 5                          by counsel was played back.)
 6                                  MR. GOSLING:   Before you
 7                          ask the question, can you just
 8                          set for the record exactly
 9                          where you are playing from.
10                                  MR. LORD:   I'm trying to
11                          get back to the point.        I'm
12                          going to ask the question.
13   BY MR. LORD:
14        Q           So, I'm now at 01:19 and I'm
15               going to play it right now and
16               I'm going to ask you to observe
17               the individual in the red
18               sweatshirt and let me know if you
19               can see him walking towards the
20               individual in the multi-colored
21               sweater.
22                                  (At which time, the
23                          video was played back.)
24   BY MR. LORD:
25        Q           So I'm stopping at 01:31.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                    Were you able to observe him
 3               walk to the individual in the
 4               sweater?
 5        A           Yes, he took about two
 6               steps.
 7        Q           Was he swaying or unbalanced
 8               when he took those two steps?
 9        A           It's hard to tell from the
10               body camera.    I would have to be
11               there in person and see it.
12        Q           You are saying you can't
13               tell from the body cam?
14        A           No.
15                               MR. GOSLING:      Objection.
16                          You can answer.
17        A           No.
18                               MR. LORD:     So, I'm going
19                          to stop sharing this.
20                               MR. GOSLING:      Number 6?
21                               MR. LORD:     Yes,
22                          Plaintiff's Exhibit 6.
23                            * * * * * * *
24                               (Body cam video labeled
25                          2019-12-15_01-50-16 was




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 1         Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                         marked as Plaintiff's
 3                         Exhibit 6 for identification
 4                         as of this date by the Court
 5                         Reporter; retained by
 6                         counsel.)
 7                           * * * * * * *
 8                                 MR. LORD:   This is
 9                         2019-12-15_01-50-16.
10                                 MR. GOSLING:    Can you
11                         repeat that?
12                                 MR. LORD:   2019-12-15_01-5
13                         0-16.
14                                 Did you get that?
15                                 MR. GOSLING:    Yes.    Just
16                         to confirm, this will be
17                         Plaintiff's Exhibit 6?
18                                 MR. LORD:   Yes,
19                         Plaintiff's Exhibit 6.
20                                 I'm at 00:00.      I'm going
21                         to play it and I'm going to
22                         stop it.     I'm not sure exactly
23                         where, but I will let you know
24                         when I stop.
25                                 Playing now.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                               (At which time, the
 3                         portion of video identified
 4                         by counsel was played back.)
 5                               MR. LORD:     So I'm stopping
 6                         at 00:45.
 7   BY MR. LORD:
 8        Q            What do you see in the video
 9               clip that I just showed you?
10        A            I saw Garfield.
11        Q            And was he being placed
12               under arrest?
13        A            I'm not sure what was going
14               on.   There was no volume.
15        Q            So, let me see if you can
16               hear at this stage.      I'm playing
17               from 00:29.
18                     Did you hear him say that?
19                               MR. GOSLING:      I didn't
20                         hear anything.
21                               MR. LORD:     I'm going to
22                         play it one more time, so the
23                         volume should be coming in.
24                               (At which time, the
25                         portion of video identified




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                         by counsel was played back.)
 3   BY MR. LORD:
 4        Q           Do you hear that statement?
 5                                MR. GOSLING:     We didn't
 6                         hear anything.
 7        A           There is nothing.        We don't
 8               hear anything.
 9                                MR. LORD:     You are not
10                         hearing any sound at all?
11                                MR. GOSLING:     No.
12                                Are you, Michelle?
13                                COURT REPORTER:        No.
14                                MR. LORD:     You don't hear
15                         it now?
16                                MR. GOSLING:     No.
17                                Okay, the sound is not
18                         going through.
19                                MR. LORD:     So, do you see
20                         I'm stopping at 01:54.          I'm
21                         going to go back ten seconds.
22                                MR. GOSLING:     Counsel, it
23                         just, like, kind of jumped a
24                         few seconds.       It's freezing.
25                                MR. LORD:     It's freezing?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                                  MR. GOSLING:   It's
 3                          jumping.
 4                                  MR. LORD:   I'm going to do
 5                          it again.
 6                                  MR. GOSLING:   Maybe just
 7                          let it load for a second so
 8                          that it doesn't, like, skip
 9                          seconds.
10                                  (At which time, the
11                          portion of video identified
12                          by counsel was played back.)
13                                  MR. LORD:   Are you seeing
14                          this?
15                                  MR. GOSLING:   We can see
16                          it, but can you go back to
17                          wherever your starting point
18                          is.
19                                  MR. LORD:   I'm starting at
20                          01:47 is where I started at.
21   BY MR. LORD:
22        Q           What do you see in that
23               picture?
24        A           Right now?
25        Q           What did you see in that




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               video?
 3                                MR. GOSLING:     Objection.
 4                           You can answer.
 5        A           I don't know.      He got him
 6               out the car, the handcuffs went
 7               on, and we're walking him
 8               somewhere.
 9   BY MR. LORD:
10        Q           So, the handcuffs going on
11               means that he was under arrest?
12        A           Yes.
13        Q           And this is approximately,
14               what we're looking at now, 01:59
15               of the body cam video ending
16               50-16, correct?
17        A           Correct.
18        Q           And I'm looking at the top
19               of the body cam video, it says
20               2019/12/15 01:51, I think this is
21               37 GMT-5.     Did I read that
22               correctly?
23        A           Yes.
24        Q           So that means he was under
25               arrest at approximately 1:50




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               A.M.?
 3                                      MR. GOSLING:   Objection.
 4                              That's not what the document
 5                              says.
 6                                      MR. LORD:   I'm asking him
 7                              was Mr. Williams under arrest
 8                              at approximately 1:50 A.M.
 9                                      MR. GOSLING:   You can
10                              answer.
11        A              Yes, it appears that way.
12                                      MR. LORD:   So, we have
13                              video starting at 01:27.         I'm
14                              going to let it play.      I'm
15                              stopping at 01:56.
16                                      (At which time, the
17                              portion of video identified
18                              by counsel was played back.)
19   BY MR. LORD:
20        Q              Do you see Mr. Williams
21               walking in that video?
22        A              Yes.
23        Q              Is he stumbling or swaying?
24        A              It's hard to tell through
25               the body camera.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        Q           Through the body camera
 3               video do you see him stumbling or
 4               swaying?
 5                               MR. GOSLING:      Objection.
 6                          Asked and answered.
 7                               You can answer.
 8        A           Like I said, it's hard to
 9               tell through a body camera video.
10   BY MR. LORD:
11        Q           So, are you saying this does
12               not accurately reflect these
13               conditions?
14                               MR. GOSLING:      Objection.
15                          That's mischaracterization.
16                               You can answer.
17   BY MR. LORD:
18        Q           What do you mean it's hard
19               to tell?
20        A           Because first of all the
21               camera is not even steady,
22               someone is walking behind us with
23               a body camera, so I can't really
24               tell unless it was, like, a
25               steady camera and I see him




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               walking and then I can only see
 3               him walking towards someone else.
 4        Q              So, are you saying that this
 5               image may not -- there may be
 6               other factors that could affect
 7               what you are looking at that it's
 8               out of your control?       I want to
 9               focus on what you see in the
10               video.     Based upon strictly the
11               body cam, in your opinion is he
12               swaying?
13                                MR. GOSLING:     Objection.
14                           Asked and answered.
15                                You can answer.
16        A              I still hard to tell through
17               the body camera.
18   BY MR. LORD:
19        Q              So, it's hard to tell means
20               you cannot make a determination?
21                                MR. GOSLING:     Objection.
22                                You can answer.
23        A              Yes, I mean the body camera
24               is moving.     I won't be able to
25               tell.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2   BY MR. LORD:
 3        Q              Does this body camera video
 4               accurately reflect how you
 5               remember his condition on that
 6               night?
 7                                  MR. GOSLING:   Objection.
 8                                  You can answer.
 9        A              I mean, seeing it in person
10               and through a body camera is
11               different.
12   BY MR. LORD:
13        Q              So, your testimony is that
14               he was, in fact, swaying and did
15               not have balance on that night?
16        A              Correct.
17        Q              And you personally observed
18               that?
19        A              Correct.
20        Q              And when did you observe
21               this?
22        A              When he was leaning on the
23               car, I told him to stand up.         He
24               was -- that's when he was, like,
25               a little bit swaying when he




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               swung forward.      Then I turned him
 3               around, I put the cuffs on him
 4               and I was walking towards the car
 5               and he seemed unbalanced while
 6               walking.
 7        Q             This is him walking towards
 8               the ambulance, correct?
 9                                MR. GOSLING:     Objection.
10                          You can answer.
11        A             That's what the video shows,
12               yes.
13   BY MR. LORD:
14        Q             So, you are saying in this
15               time he was unbalanced?
16                                MR. GOSLING:     Objection.
17                                What do you mean by "this
18                          time"?
19   BY MR. LORD:
20        Q             You testified earlier
21               that --
22                      You said that he was
23               unbalanced when he was walking
24               towards the ambulance, correct?
25        A             That's not what I said




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               before.   I said while I was
 3               cuffing him he swung forward
 4               seeming unbalanced and I turned
 5               him around, put the cuffs on him,
 6               and while I was walking him
 7               towards the bus he seemed
 8               unbalanced as well.
 9        Q           When you say that last part,
10               while you were walking him, that
11               is what this body camera showed
12               previously?
13                               MR. GOSLING:      Objection.
14                               You can answer to the
15                         extent you know.
16        A           I didn't get the full video
17               of him walking.
18   BY MR. LORD:
19        Q           I understand that, but it
20               briefly shows what you are
21               describing, not the entire thing?
22                               MR. GOSLING:      Objection.
23                               You can answer.
24        A           Correct.
25




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2   BY MR. LORD:
 3        Q           How did you describe him
 4               when you asked him to get out of
 5               the vehicle?     How did you
 6               describe that?
 7                                MR. GOSLING:     Objection.
 8                                You can answer.
 9        A           Well, here, when the door
10               was opened, he was looking
11               towards us; that's when I saw the
12               bloodshot, watery eyes.
13                                MR. GOSLING:     You are
14                         moving the video a lot from one
15                         area to another area to another
16                         area, so can you reflect for
17                         the record when you ask a
18                         question.
19                                MR. LORD:     I can play the
20                         video to get the proper number.
21                                MR. GOSLING:     I
22                         understand, but just so it's
23                         clear, can you specify -- I
24                         would ask that before you ask
25                         questions about the video that




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                         you play the section you want
 3                         to ask him and then ask him
 4                         questions about it because the
 5                         back and forth is confusing.
 6                               MR. LORD:     I was asking
 7                         about 0030 of this body cam
 8                         footage that's ending 50-16.
 9                         Let me play it first and then I
10                         will ask you questions.
11                               (At which time, the
12                         portion of video identified
13                         by counsel was played back.)
14                               MR. GOSLING:      Can you
15                         specify where you are playing
16                         the video from?
17                               MR. LORD:     I'm at 00:30 so
18                         I'm going to start playing now.
19                               MR. GOSLING:      It's
20                         actually at 31.
21        A           He was facing us before
22               that, before 00:31.
23                               MR. GOSLING:      Officer
24                         Hernandez, wait for a question.
25                               THE WITNESS:      All right.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                                MR. LORD:    So, I'm
 3                         stopping at 01:00.
 4   BY MR. LORD:
 5        Q           Officer Hernandez, that is a
 6               portion of the time frame where
 7               you said he was unbalanced?
 8        A           Correct.
 9        Q           Does he seem unbalanced in
10               the body cam videos that you saw?
11                                MR. GOSLING:     Objection.
12                         You can answer.
13        A           You can see when I turn him
14               around, he kind of sways forward,
15               like this, when I'm putting the
16               cuffs on him and he goes back
17               towards us and leans forward,
18               like this.
19   BY MR. LORD:
20        Q           So, your testimony is now
21               the body cam actually reflects
22               his stability?
23                                MR. GOSLING:     Objection.
24                         Mischaracterization.
25                                You can answer.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A           That is not what I'm saying.
 3               What I'm saying is here in this
 4               video you see him swaying forward
 5               and back.
 6   BY MR. LORD:
 7        Q           So, your testimony is he is
 8               swaying forward and back in this
 9               video?
10        A           Yes.
11                                MR. GOSLING:     Objection.
12                           You can answer.
13                                MR. LORD:    I need about
14                           five minutes because I have to
15                           get this last exhibit.
16                                MR. GOSLING:     What is the
17                           exhibit?
18                                MR. LORD:    The arrest
19                           report.    I only have the
20                           incomplete arrest report.
21                                MR. GOSLING:     I
22                           understand.
23                                So do you want to take a
24                           five-minute break?
25                                MR. LORD:    Yes, five




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 1         Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                         minutes.
 3                               1:52 P.M., approximately,
 4                         let's come back.
 5                               MR. GOSLING:      Can we come
 6                         back at 1:55?
 7                               MR. LORD:     1:55 is fine.
 8                         See you then.
 9                               * * * * * * * *
10                               (At which time, a brief
11                         recess was held.)
12                               * * * * * * * *
13                               MR. GOSLING:      So we're up
14                         to 7, right?
15                               MR. LORD:     Yes, 7.
16                               MR. GOSLING:      That's what
17                         I have in my notes.
18                               MR. LORD:     Yes.
19                           * * * * * * *
20                               (New York City Police
21                         Department Arrest Report
22                         B19649648, consisting of 4
23                         pages, Bates stamped D_00016
24                         to D_00019, was marked as
25                         Plaintiff's      Exhibit 7 for




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                         identification as of this
 3                         date by the Court Reporter;
 4                         Attached hereto.)
 5                           * * * * * * *
 6                               MR. LORD:     Yes.
 7                               So, I'm going to share
 8                         screen.
 9                               (At which time, counsel
10                         screen shared the exhibit
11                         with the witness and all
12                         parties.)
13                               MR. GOSLING:      This is the
14                         arrest report?
15                               MR. LORD:     Yes, this is
16                         the arrest report.
17                               This is Bates number
18                         D_00016, all the way to
19                         D_00019.
20   BY MR. LORD:
21        Q           So, like I said, Bates
22               D_00016 all the way to Bates
23               number D_00019.
24                    I'm going to give you an
25               opportunity to review this




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               document, as before.
 3                    After you had the
 4               opportunity to review the section
 5               I will scroll down.      Please let
 6               me know when you want me to
 7               scroll down.
 8        A           (Brief pause in proceedings
 9               as witness reviews document.)
10                                 MR. GOSLING:    There it
11                         goes.
12                                 MR. LORD:   I'm going to
13                         scroll down.
14                                 (At which time, counsel
15                         scrolled through the exhibit
16                         for the witness and all
17                         parties.)
18                                 MR. GOSLING:    Scroll down.
19   BY MR. LORD:
20        Q           Right here.      Whenever you
21               are ready.
22        A           You can scroll down.
23        Q           Starting here.
24        A           You can scroll down.
25                                 MR. GOSLING:    That's good.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                                THE WITNESS:     Okay.
 3   BY MR. LORD:
 4        Q           So, Officer Hernandez, what
 5               is this document that we're
 6               looking at?
 7        A           It's an arrest complaint
 8               report.
 9        Q           Who filled out this report?
10        A           My partner.
11        Q           Is there a reason why your
12               partner filled it out?
13        A           I don't recall.
14                    The title is on top.
15                                MR. GOSLING:     It's an
16                         arrest report, yes.
17   BY MR. LORD:
18        Q           When your partner was
19               preparing this report did he talk
20               to you about what he was going to
21               put into it?
22        A           Well, the story goes from
23               the complaint report, so I wrote
24               the story.     The thing is that he
25               entered it, so that's why it's




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2               saying that.
 3        Q           So, you are saying that you
 4               actually wrote the section with
 5               "Details," you wrote that
 6               section?
 7        A           Yes.
 8                                   MR. GOSLING:   Objection.
 9                           You can answer.
10   BY MR. LORD:
11        Q           So, you just wrote that
12               section in third person, or he
13               edited it?
14        A           No, I wrote it.
15                                   MR. LORD:   I'm reading
16                           from the last sentence -- not
17                           the last sentence -- the last
18                           line of the "Details" section
19                           where it starts with "Defendant
20                           was", and I'm going to read
21                           that.
22                                   MR. GOSLING:   It's not the
23                           last line.
24                                   MR. LORD:   The last line
25                           ending 16 or the last line not




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                           redacted.
 3   BY MR. LORD:
 4        Q           (Reading from Document)
 5                    So "Defendant was medically
 6               cleared with no injuries."
 7                    Did I read that sentence
 8               correctly?
 9        A           Correct.
10        Q           What did you mean "Defendant
11               was cleared with no injuries"?
12        A           The doctor filled out the
13               medical treatment form.       The
14               medical treatment form stated
15               that he had no injuries.
16        Q           And the time of arrest is
17               02:15:00.     What time is that?
18        A           02:15.
19        Q           Is that 2:15 A.M.?
20        A           Correct.
21        Q           So, why was this listed as
22               the arrest time?
23        A           Because that was the time
24               that we got a chance to put it
25               over the radio.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        Q              So, the arrest time is the
 3               time that's put over the radio,
 4               it's not the time he is actually
 5               in cuffs?
 6        A              It's an approximation of
 7               time.
 8        Q              So, but you are saying that
 9               this should be viewed as an
10               approximation, not the exact
11               time?
12        A              Correct.
13                                   MR. LORD:    No further
14                           questions on that one.        I have
15                           one final.
16                                   MR. GOSLING:    We're up to
17                           8?
18                                   MR. LORD:    We're up to 8.
19                                   MR. GOSLING:    What is 8?
20                                   MR. LORD:    Online
21                           prisoner.     This is D_00014 to
22                           D_00015.
23                                * * * * * * *
24                                   (Online prisoner
25                           arraignment document for




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                           Williams, Garfield,
 3                           #B19649648, Bates stamped
 4                           D_00014 to D_00015,
 5                           consisting of 2 pages was
 6                           marked as Plaintiff's
 7                           Exhibit 8 for identification
 8                           as of this date by the Court
 9                           Reporter;   Attached hereto.)
10                             * * * * * * *
11   BY MR. LORD:
12        Q              I'm going to give you the
13               opportunity to review this
14               document.
15        A              (Brief pause in proceedings
16               as witness reviews document.)
17        Q              If I need to scroll down,
18               let me know.
19        A              (Brief pause in proceedings
20               as witness reviews document.)
21        Q              Do you need me to scroll
22               down?
23        A              No, that's good.
24        Q              Can you say what this report
25               is?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A           This is basically what time
 3               you prepared and send in the
 4               paperwork.
 5        Q           Does this report have a
 6               title?
 7        A           No, not that I know of.
 8        Q           Is this report automatically
 9               generated or do you input these
10               times?
11        A           It's automatically
12               generated.
13        Q           Do you have any affect on
14               the information in this report?
15        A           No.
16                               MR. LORD:     I'm stopping
17                          share.
18                               I have no further
19                          questions.
20                               MR. GOSLING:      I'm going to
21                          take five minutes.       I don't
22                          think I have any questions, but
23                          I just want to review my notes.
24                               MR. LORD:     That's fine.
25                          We'll come back at 2:10.




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2                                MR. GOSLING:     Sounds good.
 3                                * * * * * * * *
 4                                (At which time, a brief
 5                          recess was held.)
 6                                * * * * * * * *
 7                                MR. GOSLING:     I just have
 8                          a couple of questions.
 9                              EXAMINATION
10   BY MR. GOSLING:
11        Q           Good afternoon, Police
12               Officer Hernandez.
13                    When you were at the scene
14               of the accident, did Mr. Williams
15               ever tell you that the individual
16               with the green or Christmas
17               sweater was his attorney?
18        A           No.
19        Q           Did Mr. Williams ever tell
20               you that he was not going to
21               provide you with any pedigree
22               information and that you should
23               confer with his attorney for any
24               answers to any questions or
25               information?




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 1            Defendant POLICE OFFICER OSCAR HERNANDEZ
 2        A           No.
 3        Q           And based on your
 4               observations at the accident that
 5               occurred on December 15, 2019,
 6               did you believe Mr. Williams to
 7               be intoxicated?
 8        A           Yes.
 9                                MR. GOSLING:     I have no
10                           further questions.
11                                MR. LORD:     All right.     I
12                           think that's it.
13                                I am scheduling doing
14                           exhibits right now so I can
15                           send them over.
16                               * * * * *
17                                (At which time, 2:16
18                           p.m., the examination of
19                           POLICE OFFICER OSCAR
20                           HERNANDEZ concluded.)
21
22
23
24
25




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 1
 2                    This is the Deposition of
 3                 POLICE OFFICER OSCAR HERNANDEZ
 4            taken in the matter, on the date, and
 5             at the time and place set out on the
 6                          title page hereof.
 7
 8           It was requested that the deposition be
 9              taken by the reporter and that same
10                 be reduced to typewritten form.
11
12            It was agreed by and between counsel
13                and the parties that the Deponent
14             will read and sign the transcript of
15                           said deposition.
16
17
18
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25




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 1                    REPORTER'S CERTIFICATION
 2
 3                 I, MICHELLE TROY PARRISH, a Court
 4    Reporter and Notary Public certified in and
 5    for the State of New York, do hereby certify
 6    that I recorded stenographically the
 7    proceedings herein at the time and place noted
 8    in the heading hereof, and that the foregoing
 9    transcript is true and accurate to the best of
10    my knowledge, skill and ability.
11                 IN WITNESS WHEREOF, I have hereunto
12    set my hand.
13
14
15                      MICHELLE TROY PARRISH
16
17
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23
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25




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 1                     DEPONENT'S     CERTIFICATE
 2    STATE OF_____________________________:
 3    COUNTY/CITY OF_______________________:
 4
 5                 Before me, this day, personally
 6    appeared POLICE OFFICER OSCAR HERNANDEZ, who,
 7    being duly sworn, states that the foregoing
 8    transcript of his/her Deposition, taken in the
 9    matter, on the date, and at the time and place
10    set out on the title page hereof, constitutes
11    a true and accurate transcript of said
12    deposition.
13
14
15                 POLICE OFFICER OSCAR HERNANDEZ
16
17
18
19           Signed and subscribed to before me
20         this____day of______________,20___.
           _________________________________
21
             NOTARY PUBLIC, STATE OF NEW YORK
22
23
24
25




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 1                     DEPONENT'S DECLARATION
 2
 3            DECLARATION UNDER PENALTY OF PERJURY
 4                       I, POLICE OFFICER OSCAR
 5    HERNANDEZ, declare, under penalty of perjury,
 6    that I have read the entire transcript of my
 7    Deposition taken in the above-captioned
 8    matter, or the same has been read to me, and
 9    the same is true and accurate, save and except
10    for changes and/or corrections, if any, as
11    indicated by me on the ERRATA SHEET hereof,
12    with the understanding that I offer these
13    changes as if still under oath.            I would like
14    changes made to my deposition transcript as
15    indicated on the following page:
16
17    Signed on the _____day of ____________, 20___.
18
19    _____________________________________________
20                 POLICE OFFICER OSCAR HERNANDEZ
21
22
23
24
25




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 1                            ERRATA SHEET
 2    INSTRUCTIONS:        After reading the transcript of
      your testimony, please note any change,
 3    addition or deletion on this sheet.             DO NOT
      make any marks or notations on the actual
 4    transcript.
 5
 6    CASE #:     564508
 7    CASE NAME:        WILLIAMS v CONY, ET AL.
 8    HELD:     FRIDAY, FEBRUARY 11, 2022
 9    Page       Line                     CORRECTION
10    ______________________________________________
11    ______________________________________________
12    ______________________________________________
13    ______________________________________________
14    ______________________________________________
15    ______________________________________________
16    ______________________________________________
17    ______________________________________________
18    ______________________________________________
19    ______________________________________________
20    ______________________________________________
21    ______________________________________________
22    ______________________________________________
23    Signature_________________________Date________
24    POLICE OFFICER OSCAR HERNANDEZ
25




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 1                           ERRATA SHEET
 2    Page      Line                      CORRECTION
 3    ______________________________________________
 4    ______________________________________________
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18    ______________________________________________
19    ______________________________________________
20    ______________________________________________
21    ______________________________________________
22    ______________________________________________
23    Signature_________________________Date________
24
      POLICE OFFICER OSCAR HERNANDEZ
25




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